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     Osberg v. Foot Locker, Inc., et al., 07-cv-01358 (KBF) (S.D.N.Y.)



      Declaration of Ellen Glickfield
                             July 8, 2015



                           PX378
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                                                                                  PX378
               WILLIAM M.
               MERCER.
                INCORPORATED




                               THE WOOLWORTH RETIREMENT PLAN



                                               1994

                                       CASHOUT FACTORS




CONFIDENTIAL                                                                      MercerFL0004313
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                                                             Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 3 of 56

                        THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CPSHOUT FACTORS II
                                                                                                                                                 BASIS: UP 1984 MORTALITY                 n1=-        7
                                                                                                                                                                                          n2=         8
                                                                                                                                                 GREATER FACTOR PRODUCED FROM
                                                                                                                                                    EITHER: INT=          4.50%       OR: INT=    7.50%
                        APPLY TO: MONTHLY BENEFIT PAYABLE AT NORMAL RETIREMENT IF VESTING SERVICE IS MORETHAN   15 YEARS                                      k1=            1.0400       k1=     1.0750
                                                                                                                                                              k2=            1.0400       k2=     1.0750
                                                                                                                                                              k3=            1.0400       k3=     1.0750


                         BENEFIT
                           START                                                                             NEAREST MONTH
                             AGE               0              1               2                3         4          5              6         7                  8                9         10        11
                          YEARS

                              21          23.347          23.427         23.508         23.588      23.668        23.749      23,829    23.909             23.990            24.070     24.150    24.231
                              22          24.311          24.395         24.478         24.562      24.646        24.729      24.813    24.897             24.980            25.064     25.148    25.231
                              23          25.315          25.402         25.489         25.576      25.663        25.750      25.837    25.923             26.010            26.097     26.184    26.271
                              24          26.358          26.449         26.539         26.630      26.720        26.811      26.901    26.992             27.062            27.173     27.263    27.354
                              25          27.444          27.538         27.632         27.727      27.821        27.915      28.009    28.103             28.197            28.292     28.386    28.480
                              26          28.574          28.672         28.770         28.868      28.966        29.064      29.162    29.260             29.358            29.456     29.554    29.652
                              27          29.750          29.652         29.954         30.056      30.158        30.260      30.362    30.463             30.565            30.667     30.769    30.871
                              28          30.973          31.079         31.185         31.291      31.397        31.503      31.610    31.716             31.822            31.928     32.034    32.140
                              29          32.246          32.357         32.467         32.578      32.688        32.799      32.910    33.020             33.131            33.241     33.352    33.462
                              30          33,573          33.658         33.803         33.918      34.033        34.148      34.264    34.379             34.494            34.809     34.724    34.839

                              31          34.954          35.074         35.194         35.314      35.434        35.554      35.674    35.794             35.914            36.034     36.154    36.274
                              32          36.394          36.519         36.644         36.769      36.894        37.019      37.144    37,269             37.394            37.519     37.644    37.769
                              33          37.894          38.024         38.155         38.285      38.415        38.546      38.676    38.806             38.937            39.067     39.197    39.328
                              34          39.458          39.594         39.730         39.866      40.002        40.138      40.274    40.409             40.545            40.681     40.817    40.953
                              35          41.089          41.231         41.373         41.515      41.657        41.799      41.941    42.053             42.225            42.367     42.509    42.651
                              36          42.793          42.941         43.090         43.238      43.386        43.534      43.663    43.831             43.979            44.127     44.276    44.424
                              37          44.572          44.727         44.882         45.037      45.192        45.347      45.502    45.656             45.811            45.966     46.121    46.276
                              38          46.431          46.593         46.755         46.917      47.079        47.241      47.403    47.565             47.727            47.889     48.051    48.213
                              39          48.375          48.544         48.714         48.883      49.053        49.222      49.392    49.561             49.730            49.900     50.069    50.239
                              40          50.408          50.585         50.763         50.940      51.117        51.295      51.472    51.649             51.627            52.034     52.181    52.359

                              41          52.536         52.722          52.908         53.093      53.279        53.465      53.651    53.836             54.022            54.208     54.394    54.579
                              42          54.765         54.960          55.154         55.349      55.544        55.738      55.933    56.128             56.322            56.517     56.712    56.906
                              43          57.101         57.305          57.510         57.714      57.918        58.123      58.327    58.531             58.736            58.940     59.144    59.349
                              44          59.553         59.768          59.982         60.197      60.411        60.626      60.841    61.055             61.270            61.484     61.699    61.913
                              45          62.128         62.354          62.579         62.805      63.030        63.256      63.481    63.707             63.932            64.158     64.383    64.609
                              46          64.834         65.071          65.309         65.546      65.783        66.021      66.258    66.495             66.733            66.970     67.207    67.445
                              47          67.682         67.932          68.183         68.433      68.683        68.933      69.184    69,434             69.684            69.934     70.185    70.435
                              48          70.685         70.949          71.213         71.478      71.742        72.006      72.270    72.534             72.798            73.083     73.327    73.591
                              49          73.855         74.134          74.413         74.632      74.971        75.250      75.529    75.808             76.067            76.366     76.645    76.924
                              50          77.203         77.498          77.793         78.089      78.384        78.679      78.974    79.269             79.564            79.860     80.155    80.450

                              51          80.745         81.058          81.371         81.683      81.996        82.309      82.622    82.934             83.247            83.560     83.873    84.185
                              52          84.498         84.830          85.162         85.495      85.827        86.159      86.491    86.823             87.155            87.488     87.820    88.152
                              53          88.484         88.837          89.191         89.544      89.897        90.250      90.834    90.957             91.310            91.683     92.017    92.370
                              54          92.723         93.099          93.475         93.852      94.228        94.804      94.980    95.355             95.732            96.109     96.485    96.861
                              55          97.237         97.590          97.942         98.295      98.647        99.000      99.353    99.705            100.058           100.410    100.763   101.115
                              56         101.468        101.794         102.120        102.446     102 772       103.098     103.424   103.750            104.076           104.402    104.728   105.054
                              57         105.380        105.679         105.978        106.278     106.577       106.876     107,175   107.474            107.773           108,073    108.372   108.671
                              58         108.970        109.242         109.515        109.787     110.060       110.332     110.605   110.877            111.149           111.422    111.694   111.967
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                              59         112239         112484          112729         112.974     113.219       113.464     113.709   113.953            114.198           114.443    114.688   114.933
                              60         115.178        115.395         115.613        115.830     116.047       116.265     116.482   116.699            116.917           117.134    117.351   117.569

                              61         117.786        117.976         118.166        118.357     118.547       118.737     118.927   119.117            119.307           119.498    119.688   119.878
                              62         120.068        120.231         120.395        120.558     120.721       120.884     121.048   121.211            121.374           121.537    121.701   121.864
                              63         122027         122.164         122301         122438      122575        122712      122849    122986             123.123           123.260    123.397   123.534
                              64         123.671        123.782         123.894        124.005     124.116       124.227     124.339   124.450            124.561           124.672    124.784   124.895
                              65         125.006
1V11NOUNO0
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                     THE WOOLWORTH RET1RELENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS III                                                                BASIS: UP 1984 MORTALITY                 n1=         7
                                                                                                                                                                                                   n2=         8
                                                                                                                                                          GREATER FACTOR PRODUCED FROM
                                                                                                                                                              EITHER: INT=         4.50%       OR: INT=    7.50%
                     APPLY TO:   MONTHLY         BENEFIT AFTER INCREASE FOR DEFERRED RETIREMENT (IF ANY) HAS BEEN APPLIED                                              k1=            1.0400       k1=     1,0750
                                                                                                                                                                       k2=            1.0400       k2=     1.0750
                                                                                                                                                                       k3=            1.0400       k3=     1.0750


                       BENEFIT
                         START                                                                                     NEAREST MONTH
                           AGE               0                  1               2              3               4          5                6         7                   8                9         10        11
                        YEARS




                            65         125.006            124.689         124.371        124.054         123.736            123.419   123102    122 784             122467           122149     121.832   121.514

                            66         121.197            120.882         120.566        120.251         119.936            119.620   119.305   118.990             116674           118.359    118.044   117.728

                            67         117.413            117.099         115786         116.472         116158             115.845   115.531   115.217             114.904          114.590    114.276   113963

                            68         113.649            113.336         113023         112709          112396             112083    111.770   111.456             111.143          110.830    110.517   110.203


                            69         109.890            109.576         109 262        106948          108.634            108.320   108.006   107.692             107.378          107.064    106.750   106.436




                            70         106.122            105 808         105.494        105.180         104.865            104.551   104.237   103923              103609           103295     102980    102666

                            71         102352             102038          101.724        101.411         101.097            100.783   100.469   100.155              99.841           99.528     99.214    98.930


                            72          98.586             98.273          97.960         97.647          97.334             97.021    96.709    96.396              96.033           95.770     95.457    95.144

                           73           94.831             94.521          94.210         93.900          93.589             93.279    92.968    92.658              92.347           92.037     91.726    91.416


                           74           91.105             90.798          90.491         90.184          89.876             89.569    89.262    88.955              88.648           88.341     88.033    87.726




                           75           87.419             87.116          86.813         86.511          86.208            85.905     85.602    85.299              84.996           84.694     84.391    84.088

                           76          83.785              83.488          83.190         82.893          82.595            82.298    82.000     81.703              81.405           81.108     80.810    80.513

                           77          80.215              79.924         79.633          79.342          79.051            78,760     78.470   78.179               77.888           77.597     77.336    77.015

                           78          76.724              76.438         76.152          75.866          75.580            75.294    75.008    74.721               74.435           74.149     73.863    73.577
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                           79          73.291              73.011         72.730          72.450          72.170            71.889    71.839    71.329               71.048           70.768     70.488    70.207




                           80          69.927
1V11NOHNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS IV
                                                                                                                                                   BASIS: UP1984 MORTALITY                 n1=          7
                                                                                                                                                                                           n2=          8
                                                                                                                                                   GREATER FACTOR PRODUCED FROM
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                                                                      4.50%
                                                                                                                                                       EITHER: INT=                    OR: INT=    7.50%
                                                                                                                                                                k1=         1.0400          k1=    1.0750
                                 PARTICIPANT IS EUGIBLE FOR EARLY RETIREMENT (.e., AGE > 55)                                                                    k2=         10400           k2=    1.0750
                                                                                                                                                                k3=         1.0400          k3=    1.0750

                       SPOUSE
                        AGE AT
                                                               /~~_® -
                                                                                                               NEAREST MONTH
                      CASHOUT                   05eft,,(k                        2               3         4          5              6         7                  8                9        10        11
                        YEARS
                            31            226.540          226.387         226.234         226.081   225.928      225.775        5.622   225.469            225.316          225.163    225.010   224.857
                            32            224.704          224.545         224.385         224.226   224.066      223.907      223.748   223.588            223.429          223.269    223.110   222.950
                            33            222.791          222.625         222.459         222.293   222.127      221.961      221.795   221.628            221.462          221.296    221.130   220.964
                            34            220.798          220.626         220.454         220.282   220.109      219.937      219.765   219.593            219.421          219.249    219.076   218.904
                            35            218.732          218.554         218.376         218.197   218.019      217.841      217.663   217.484            217.306          217.128    216.950   216.771
                            38            216.593          216.409         216.224         216.040   215.855      215.671      215.487   215.302            215.118          214.933    214.749   214.564
                            37            214.380          214.189         213.999         213.808   213.617      213.427      213.236   213.045            212.855          212.664    212.473   212.283
                            38            212.092          211.895         211.698         211.501   211.304      211.107      210.911   210.714            210.517          210.320    210.123   209.926
                            39            209.729          209.526         209.322         209.119   208.916      208.712      208.509   208.306            208.102          207.899    207.696   207.492
                            40            207.289          207.079         206.869         206.660   206.450      206.240      206.030   205.820            205.610          205.401    205.191   204.981

                            41            204.771          204.555         204.339         204.123   203.906      203.690      203.474   203.258            203.042          202.826    202.609   202.393
                            42            202.177          201.954         201.732         201.509   201.287      201.064      200.842   200.619            200.396          200.174    199.951   199.729
                            43            199.506          199.277         199.049         198.820   198.591      198.362      198.134   197.905            197.676          197.447    197.219   196.990
                            44            196.761          196.526         196.291         196.056   195.821      195.586      195.351   195.115            194.880          194.645    194.410   194.175
                            45            193.940          193.699         193.458         193.216   192.975      192.734      192.493   192.251            192.010          191.769    191.528   191.286
                            46            191.045          190.798         190.551         190.304   190.057      189.810      189.563   189.315            189.068          188.821    188.574   188.327
                            47            188.080          187.827         187.575         187.322   187.069      186.816      186.564   186.311            186.058          185.805    185.553   185.300
                            48            185.047          184.789         184.531         184.273   184.015      183.757      183.499   183.241            182.983          182.725    182.467   182.209
                            49            181.951          181.687         181.424         181.160   180.896      180.632      180.369   180.105            179.841          179.577    179.314   179.050
                            50            178.786          178.517         178.248         177.979   177.709      177.440      177.171   176.902            176.633          176.364    176.094   175.825

                            51            175.556         175.282          175.008         174.733   174.459      174.185      173.911   173.636            173.362          173.088    172.814   172.539
                            52            172.265         171.986          171.708         171.429   171.150      170.871      170.593   170.314            170.035          169.756    169.478   169.199
                            53            168.920         168.637          168.353         168.070   167.786      167.503      167.220   166.936            166.653          166.369    166.086   165.802
                            54            165.519         165.231          164.943         164.655   164.366      164.078      163.790   163.502            163.214          162.926    162.637   162.349
                            55            162.061         161.768          161.475         161.182   160.889      160.596      160.303   160.009            159.716          159.423    159.130   158.837
                            56            158.544         158.246          157.948         157.651   157.353      157.055      156.757   156.459            156.161          155.864    155.566   155.268
                            57            154.970         154.668          154.366         154.064   153.762      153.460      153.159   152.857            152.555          152.253    151.951   151.649
                            58            151.347         151.042          150.736         150.431   150.126      149.820      149.515   149.210            148.904          148.599    148.294   147.988
                            59            147.683         147.374          147.065         146.755   146.446      146.137      145.828   145.518            145.209          144.900    144.591   144.281
                            60            143.972         143.660          143.347         143.035   142.722      142.410      142.097   141.785            141.472          141.160    140.847   140.535

                            61            140.222         139.907          139.592         139.277   138.962      138.647      138.332   138.016            137.701          137.386    137.071   136.756
                            62            136.441         136.124          135.807         135.490   135.173      134.856      134.540   134.223            133.906          133.589    133.272   132.955
                            63            132.638         132.320          132.002         131.685   131.367      131.049      130.731   130.413            130.095          129.778    129.460   129.142
                            64            128.824         128.506          128.188         127.870   127.551      127.233      126.915   126.597            126.279          125.961    125.642   125.324
                            65            125.006         124.689          124.371         124.054   123.736      123.419      123.102   122.784            122, 467         122.149    121.832   121.514
                            66            121.197         120.882          120.566         120.251   119.936      119.620      119.305   118.990            118.674          118.359    118.044   117.728
                            67            117.413         117.099          116.786         116.472   116.158      115.845      115.531   115.217            114.904          114.590    114.276   113.963
                            68            113.649         113.336          113.023         112.709   112.396      112.083      111.770   111.456            111.143          110.830    110.517   110.203
                            69            109.890         109.576          109.262         108.948   108.634      108.320      108.006   107.692            107.378'         107.064    106.750   106.436
                            70            106.122         105.808          105.494         105.180   104.865      104.551      104.237   103.923            103.609          103.295    102.980   102.666

                            71            102.352         102.038          101.724         101.411   101.097      100.783      100.469   100.155             99.841          99.528      99.214   98.900
                            72             98.586          98.273           97.960          97.647    97.334       97.021       96.709    96.396             96.083          95.770      95.457   95.144
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                            73             94.831          94.521           94.210          93.900    93.589       93.279       92.968    92.658             92.347          92.037      91.726   91.416
                            74             91.105          90.798           90.491          90.184    89.876       89.589       89.262    88.955             88.648          88.341      88.033   87,726
                            75             87.419          87.116           86.813          86.511    86.208       85.905       85.602    85.299             84.996          84.694      84.391   84.088
                            76             83.785          83.488           83.190          82.893    82.595       82.298       82.000    81.703             81.405          81.108      80.810   80.513
                            77             80.215          79.924           79.633          79.342    79.051       78.760       78.470    78.179             77.888          77.597      77.306   77.015
                            78             76.724          76.438           76.152          75.866    75.580       75.294       75.008    74.721             74.435          74.149      73.863   73.577
                            79             73.291          73.011           72.730          72.450    72.170       71.889       71.609    71.329             71.048          70.768      70.488   70.207
                            80             69.927          69.653           69.380          69.106    68.833       68.559       68.286    68.012             67.738          67.465      67.191   66.918
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                       THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY         n1 =       7
                                                                                                                                                                       n2=        8
                                   APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                   EITHER: INT=       4.50%    OR: INT=        7.50%
                                   PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =      1.0750
                                                                                                                                            k2=      1.0400         k2=       1.0750
                                                                                                                                            k3=      1.0400         k3=       1.0750
                                         75 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                        **•*
                          SPOUSE
                          AGE AT                                                                   NEAREST MONTH
                        CASH OUT              0           1            2           3          4         5        6                7               8              9      10       11
                          YEARS


                              41         13.199       13.246      13.292      13.339      13.386      13.432      13.479      13.526          13.572       13.619    13.666   13.712
                              42         13.759       13.808      13.857      13.906      13.955      14.004      14.053      14.101          14.150       14.199    14.248   14.297
                              43         14.346       14.397      14.449      14.500      14.551      14.603      14.654      14.705          14.757       14.808    14.859   14.911
                              44         14.962       15.016      15.070      15.124      15.178      15.232      15.286      15.339          15.393       15.447    15.501   15.555
                              45         15.609      15.666       15.722      15.779      15.836      15.892      15.949      16.006          16.062       16.119    16.176   16.232
                              46         16.289      16.349       16.408      16.468      16.528      16.587      16.647      16.707          16.766       16.826    16.886   16.945
                              47         17.005      17.068       17.131      17.194      17.256      17.319      17.382      17.445          17.508       17.571    17.633   17.696
                              48         17.759      17.825       17.892      17.958      18.025      18.091      18.158      18.224          18.290       18.357    18.423   18.490
                              49         18.556      18.626       18.696      18.766      18.836      18.906      18.977      19.047          19.117       19.187    19.257   19.327
                              50         19.397      19.471       19.545      19.620      19.694      19.768      19.842      19.916          19.990       20.065    20.139   20.213

                              51         20.287       20.366      20.444      20.523      20.601      20.680      20.759      20.837          20.916       20.994    21.073   21.151
                              52         21.230       21.313      21.397      21.480      21.564      21.647      21.731      21.814          21.897       21.981    22.064   22.148
                              53         22.231       22.320      22.409      22.497      22.586      22.675      22.764      22.852          22.941       23.030    23.119   23.207
                              54         23.296       23.391      23.485      23.580      23.674      23.769      23.863      23.958          24.052       24.147    24.241   24.336
                              55         24.430       24.531      24.632      24.732      24.833      24.934      25.035      25.135          25.236       25.337    25.438   25.538
                              56         25.639       25.747      25.854      25.962      26.069      26.177      26.285      26.392          26.500       26.607    26.715   26.822
                              57         26.930       27.045      27.161      27.276      27.391      27.507      27.622      27.737          27.853       27.968    28.083   28.199
                              58         28.314       28.438      28.562      28.686      28.809      28.933      29.057      29.181          29.305       29.429    29.552   29.676
                              59         29.800      29.933       30.067      30.200      30.333      30.466      30.600      30.733          30.866       30.999    31.133   31.266
                              60         31.399      31.543      31.687       31.830      31.974      32.118      32.262      32.405          32.549       32.693    32.837   32.980

                              61         33.124      33.280      33.435       33.591      33.746      33.902      34.058      34.213          34.369       34.524    34.680   34.835
                              62         34.991      35.160      35.329       35.499      35.668      35.837      36.006      36.175          36.344       36.514    36.683   36.852
                              63         37.021      37.205      37.390       37.574      37.759      37.943      38.128      38.312          38.496       38.681    38.865   39.050
                              64         39.234      39.436      39.638       39.840      40.042      40.244      40.447      40.649          40.851       41.053    41.255   41.457
                              65         41.659      41.881       42.103      42.326      42.548      42.770      42.992      43.214          43.436       43.659    43.881   44.103
                              66         44.325      44.571       44.816      45.062      45.308      45.553      45.799      46.045          46.290       46.536    46.782   47.027
                              67         47.273      47.545       47.818      48.090      48.362      48.634      48.907      49.179          49.451       49.723    49.996   50.268
                              68         50.540      50.842      51.145       51.447      51.749      52.051      52.354      52.656          52.958       53.260    53.563   53.865
                              69         54.167      54.503      54.839       55.175      55.511      55.847      56.184      56.520          56.856       57.192    57.528   57.864
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                              70         58.200      53.350      48.500       43.650      38.800      33.950      29.100      24.250          19.400       14.550     9.700    4.850

                              71         62.706      63.128      63.550       63.971      64.393      64.815      65.237      65.658          66.080       66.502    66.924   67.345
                              72         67.767      68.243      68.719       69.196      69.672      70.148      70.624      71.100          71.576       72.053    72.529   73.005
                              73         73.481      74.023      74.564       75.106      75.647      76.189      76.731      77.272          77.814       78.355    78.897   79.438
                              74         79.980      80.600      81.220       81.840      82.460      83.080      83.700      84.319          84.939       85.559    86.179   86.799
                              75         87.419
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY         n1 =       7
                                                                                                                                                                    n2=        8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=       7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400         k1=      1.0750
                                                                                                                                          k2=      1.0400         k2=      1.0750
                                                                                                                                          k3=      1.0400         k3=      1.0750
                                       74 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASH OUT              0           1           2           3           4           5          6           7               8              9      10       11
                        YEARS



                            41         15.035      15.088      15.141      15.195      15.248      15.301      15.354      15.407          15.460       15.514    15.567   15.620
                            42         15.673      15.729      15.785      15.840      15.896      15.952      16.008      16.063          16.119       16.175    16.231   16.286
                            43         16.342      16.401      16.459      16.518      16.576      16.635      16.693      16.752          16.810       16.869    16.927   16.986
                            44         17.044      17.105      17.167      17.228      17.289      17.351      17.412      17.473          17.535       17.596    17.657   17.719
                            45         17.780      17.845      17.909      17.974      18.038      18.103      18.168      18.232          18.297       18.361    18.426   18.490
                            46         18.555      18.623      18.691      18.759      18.827      18.895      18.963      19.030          19.098       19.166    19.234   19.302
                            47         19.370      19.442      19.513      19.585      19.656      19.728      19.800      19.871          19.943       20.014    20.086   20.157
                            48         20.229      20.305      20.380      20.456      20.532      20.607      20.683      20.759          20.834       20.910    20.986   21.061
                            49         21.137      21.217      21.297      21.377      21.456       21.536     21.616      21.696          21.776       21.856    21.935   22.015
                            50         22.095      22.179      22.264      22.348      22.433       22.517     22.602      22.686          22.770       22.855    22.939   23.024

                            51         23.108      23.198      23.287      23.377      23.466      23.556      23.646      23.735          23.825       23.914    24.004   24.093
                            52         24.183      24.278      24.373      24.468      24.563      24.658      24.753      24.848          24.943       25.038    25.133   25.228
                            53         25.323      25.424      25.525      25.627      25.728      25.829      25.930      26.031          26.132       26.234    26.335   26.436
                            54         26.537      26.645      26.752      26.860      26.967      27.075      27.183      27.290          27.398       27.505    27.613   27.720
                            55         27.828      27.943      28.058      28.172      28.287      28.402      28.517      28.631          28.746       28.861    28.976   29.090
                            56         29.205      29.328      29.450      29.573      29.695      29.818      29.941      30.063          30.186       30.308    30.431   30.553
                            57         30.676      30.807      30.939      31.070      31.201      31.333      31.464      31.595          31.727       31.858    31.989   32.121
                            58         32.252      32.393      32.534      32.675      32.816      32.957      33.099      33.240          33.381       33.522    33.663   33.804
                            59         33.945      34.097      34.249      34.400      34.552      34.704      34.856      35.007          35.159       35.311    35.463   35.614
                            60         35.768      35.930      36.094      36.257      36.421      36.585      36.749      36.912          37.076       37.240    37.404   37.567

                            61         37.731      37.908      38.086      38.263      38.440      38.617      38.795      38.972          39.149       39.326    39.504   39.681
                            62         39.858      40.051      40.243      40.436      40.629      40.821      41.014      41.207          41.399       41.592    41.785   41.977
                            63         42.170      42.380      42.590      42.801      43.011      43.221      43.431      43.641          43.851       44.062    44.272   44.482
                            64         44.692      44.922      45.152      45.382      45.612      45.842      46.073      46.303          46.533       46.763    46.993   47.223
                            65         47.453      47.706      47.959      48.213      48.466      48.719      48.972      49.225          49.478       49.732    49.985   50:238
                            66         50.491      50.771      51.051      51.330      51.610      51.890      52.170      52.449          52.729       53.009    53.289   53.568
                            67         53.848      54.158      54.468      54.779      55.089      55.399      55.709      56.019          56.329       56.640    56.950   57.260
                            68         57.570      57.914      58.259      58.603      58.947      59.291      59.636      59.980          60.324       60.668    61.013   61.357
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                           69          61.701      62.084      62.467      62.850      63.232      63.615      63.998      64.381          64.764       65.147    65.529   65.912
                           70          66.295      60.770      55.246      49.721      44.197      38.672      33.148      27.623          22.098       16.574    11.049    5.525

                           71          71.429      71.909      72.390      72.870      73.351      73.831      74.312      74.792          75.272       75.753    76.233   76.714
                           72          77.194      77.736      78.279      78.821      79.363      79.906      80.448      80.990          81.533       82.075    82.617   83.160
                           73          83.702      84.319      84.936      85.553      86.170      86.787      87.404      88.020          88.637       89.254    89.871   90.488
                           74          91.105
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY         n1 =       7
                                                                                                                                                                      n2=        8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                          GREATER FACTOR PRODUCED FROM
                                                                                                                                   EITHER: INT=      4.50%     OR: INT=       7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                         k1=      1.0400         k1=      1.0750
                                                                                                                                            k2=      1.0400         k2=      1.0750
                                                                                                                                            k3=      1.0400         k3=      1.0750
                                         73 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       • ***
                        SPOUSE
                         AGE AT                                                                   NEAREST MONTH
                      CASHOUT                0           1            2           3           4        5        6                7               8              9      10       11
                        YEARS


                             40         16.344      16.402       16.459      16.517      16.574      16.632      16.689      16.747          16.804       16.862    16.919   16.977

                            41          17.034      17.094       17.155      17.215      17.275      17.335      17.396      17.456          17.516       17.576    17.637   17.697
                            42          17.757      17.820       17.883      17.947      18.010      18.073      18.136      18.199          18.262       18.326    18.389   18.452
                            43          18.515      18.581      18.648       18.714      18.780      18.846      18.913      18.979          19.045       19.111    19.178   19.244
                            44          19.310      19.380      19.449       19.519      19.588      19.658      19.727      19.797          19.866       19.936    20.005   20.075
                            45          20.144      20.217      20.290       20.364      20.437      20.510      20.583      20.656          20.729       20.803    20.876   20.949
                            46          21.022      21.099       21.176      21.253      21.330      21.407      21.484      21.560          21.637       21.714    21.791   21.868
                            47          21.945      22.026       22.107      22.189      22.270      22.351      22.432      22.513          22.594       22.676    22.757   22.838
                            48          22.919      23.005       23.090      23.176      23.262      23.347      23.433      23.519          23.604       23.690    23.776   23.861
                            49          23.947      24.037       24.128      24.218      24.309      24.399      24.490      24.580          24.670       24.761    24.851   24.942
                            50          25.032      25.128       25.224      25.319      25.415      25.511      25.607      25.702          25.798       25.894    25.990   26.085

                            51          26.181      26.282       26.384      26.485      26.587      26.688      26.790      26.891          26.992       27.094    27.195   27.297
                            52          •27.398     27.506       27.613      27.721      27.829      27.936      28.044      28.152          28.259       28.367    28.475   28.582
                            53          28.690      28.805      28.919       29.034      29.148      29.263      29.378      29.492          29.607       29.721    29.836   29.950
                            54          30.065      30.187      30.309       30.431      30.553      30.675      30.797      30.918          31.040       31.162    31.284   31.406
                            55          31.528      31.658      31.788       31.918      32.048      32.178      32.308      32.438          32.568       32.698    32.828   32.958
                            56          33.088      33.227      33.366       33.505      33.644      33.783      33.922      34.060          34.199       34.338    34.477   34.616
                            57          34.755      34.904      35.053       35.201      35.350      35.499      35.648      35.796          35.945       36.094    36.243   36.391
                            58          36.540      36.700      36.860       37.020      37.179      37.339      37.499      37.659          37.819       37.979    38.138   38.298
                            59          38.458      38.630      38.802       38.974      39.146      39.318      39.490      39.661          39.833       40.005    40.177   40.349
                            60          40.521      40.707      40.892       41.078      41.263      41.449      41.634      41.820          42.005       42.191    42.376   42.562

                            61          42.747      42.948      43.149       43.350      43.551      43.752      43.953      44.153          44.354       44.555    44.756   44.957
                            62          45.158      45.376      45.595       45.813      46.031      46.249      46.468      46.686          46.904       47.122    47.341   47.559
                            63          47.777      48.015      48.253       48.491      48.729      48.967      49.206      49.444          49.682       49.920    50.158   50.396
                            64          50.634      50.895      51.155      51.416       51.677      51.937      52.198      52.459          52.719       52.980    53.241   53.501
                            65          53.762      54.049      54.336      54.622       54.909      55.196      55.483      55.769          56.056       56.343    56.630   56.916
                            66          57.203      57.520      57.837      58.154       58.471      58.788      59.105      59.422          59.739       60.056    60.373   60.690
                            67          61.007      61.358      61.710      62.061       62.413      62.764      63.116      63.467          63.818       64.170    64.521   64.873
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                            68          65.224      65.614      66.004      66.394       66.784      67.174      67.564      67.954          68.344       68.734    69.124   69.514
                            69          69.904      70.338      70.772      71.206       71.639      72.073      72.507      72.941          73.375       73.809    74.242   74.676
                            70          75.110      68.851      62.592      56.333       50.073      43.814      37.555      31.296          25.037       18.778    12.518    6.259

                            71          80.926      81.470      82.015      82.559      83.103       83.647      84.192      84.736          85.280       85.824    86.369   86.913
                            72          87.457      88.072      88.686      89.301      89.915       90.530      91.144      91.759          92.373       92.988    93.602   94.217
                            73          94.831
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY         n1 =       7
                                                                                                                                                                    n2=        8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=       7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1=      1.0750
                                                                                                                                          k2=      1.0400         k2=      1.0750
                                                                                                                                          k3=      1.0400         k3=      1.0750
                                       72 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0           1           2           3           4        5        6                7                8             9      10       11
                         YEARS


                            39         17.681      17.743      17.805      17.867      17.929      17.991      18.053      18.114          18.176       18.238    18.300   18.362
                            40         18.424      18.489      18.554      18.619      18.683      18.748      18.813      18.878          18.943       19.008    19.072   19.137

                            41         19.202      19.270      19.338      19.406      19.474      19.542      19.610      19.677          19.745       19.813    19.881   19.949
                            42         20.017      20.088      20.159      20.231      20.302      20.373      20.444      20.515          20.586       20.658    20.729   20.800
                            43         20.871      20.946      21.020      21.095      21.170      21.244      21.319      21.394          21.468       21.543    21.618   21.692
                            44         21.767      21.845      21.924      22.002      22.081      22.159      22.238      22.316          22.394       22.473    22.551   22.630
                            45         22.708      22.790      22.873      22.955      23.038      23.120      23.203      23.285          23.367       23.450    23.532   23.615
                            46         23.697      23.784      23.871      23.957      24.044      24.131      24.218      24.304          24.391       24.478    24.565   24.651
                            47         24.738      24.830      24.921      25.013      25.104      25.196      25.287      25.379          25.470       25.562    25.653   25.745
                            48         25.836      25.933      26.029      26.126      26.222      26.319      26.415      26.512          26.608       26.705    26.801   26.898
                            49         26.994      27.096      27.198      27.300      27.402      27.504      27.606      27.708          27.810       27.912    28.014   28.116
                            50         28.218      28.326      28.434      28.542      28.649      28.757      28.865      28.973          29.081       29.189    29.296   29.404

                            51         29.512      29.626      29.741      29.855      29.969      30.084      30.198      30.312          30.427       30.541    30.655   30.770
                            52         30.884      31.005      31.127      31.248      31.370      31.491      31.613      31.734          31.855       31.977    32.098   32.220
                            53         32.341      32.470      32.599      32.729      32.858      32.987      33.116      33.245          33.374       33.504    33.633   33.762
                            54         33.891      34.028      34.166      34.303      34.441      34.578      34.716      34.853          34.990       35.128    35.265   35.403
                            55         35.540      35.687      35.833      35.980      36.126      36.273      36.420      36.566          36.713       36.859    37.006   37.152
                            56         37.299      37.456      37.612      37.769      37.925      38.082      38.239      38.395          38.552       38.708    38.865   39.021
                            57         39.178      39.346      39.513      39.681      39.849      40.016      40.184      40.352          40.519       40.687    40.855   41.022
                            58         41.190      41.370      41.550      41.731      41.911      42.091      42.271      42.451          42.631       42.812    42.992   43.172
                            59         43.352      43.546      43.740      43.934      44.127      44.321      44.515      44.709          44.903       45.097    45.290   45.484
                            60         45.678      45.887      46.096      46.305      46.514      46.723      46.933      47.142          47.351       47.560    47.769   47.978

                            61         48.187      48.413      48.640      48.866      49.093      49.319      49.546      49.772          49.998       50.225    50.451   50.678
                            62         50.904      51.150      51.396      51.642      51.888      52.134      52.381      52.627          52.873       53.119    53.365   53.611
                            63         53.857      54.125      54.394      54.662      54.930      55.199      55.467      55.735          56.004       56.272    56.540   56.809
                            64         57.077      57.371      57.665      57.959      58.253      58.547      58.841      59.134          59.428       59.722    60.016   60.310
                            65         60.604      60.927      61.251      61.574      61.897      62.220      62.544      62.867          63.190       63.513    63.837   64.160
                            66         64.483      64.840      65.198      65.555      65.912      66.270      66.627      66.984          67.342       67.699    68.056   68.414
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                            67         68.771      69.167      69.563      69.959      70.355      70.751      71.148      71.544         71.940        72.336    72.732   73.128
                            68         73.524      73.964      74.403      74.843      75.283      75.722      76.162      76.602         77.041        77.481    77.921   78.360
                           69          78.800      79.289      79.778      80.267      80.756      81.245      81.734      82.223         82.712        83.201    83.690   84.179
                           70          84.668      77.612      70.557      63.501      56.445      49.390      42.334      35.278         28.223        21.167    14.111    7.056

                           71          91.224      91.838      92.451      93.065      93.678      94.292      94.905      95.519         96.132        96.746    97.359   97.973
                           72          98.586
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                   BASIS: UP1984 MORTALITY             n1=        7
                                                                                                                                                                       n2=        8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                   GREATER FACTOR PRODUCED FROM
                                                                                                                                   EITHER: INT=         4.50%     OR: INT=   7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                            k1--       1.0400          k1=   1.0750
                                                                                                                                            k2=        1.0400          k2=   1.0750
                                                                                                                                            k3 =       1.0400          k3=   1.0750
                                       71 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      MI!

                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                0            1            2            3           4         5        6          7               8              9         10       11
                        YEARS


                            38          19.041       19.107       19.174       19.240       19.307     19.373   19.440   19.506           19.572       19.639       19.705   19.772
                            39          19.838       19.908       19.977       20.047       20.116     20.186   20.255   20.325           20.394       20.464       20.533   20.603
                            40          20.672       20.745       20.818       20.890       20.963     21.036   21.109   21.181           21.254       21.327       21.400   21.472

                            41          21.545       21.621       21.697       21.774       21.850     21.926   22.002    22.078          22.154       22.231       22.307   22.383
                            42          22.459       22.539       22.619       22.699       22.778     22.858   22.938    23.018          23.098       23.178       23.257   23.337
                            43          23.417       23.501       23.585       23.668       23.752     23.836   23.920   24.003           24.087       24.171       24.255   24.338
                            44          24.422       24.510       24.598       24.686       24.774     24.862   24.950   25.038           25.126       25.214       25.302   25.390
                            45          25.478       25.571       25.663       25.756       25.848     25.941   26.033   26.126           26.218       26.311       26.403   26.496
                            46          26.588       26.685       26.783       26.880       26.977     27.075   27.172    27.269          27.367       27.464       27.561   27.659
                            47          27.756       27.859       27.961       28.064       28.166     28.269   28.372    28.474         28.577        28.679       28.782   28.884
                            48          28.987       29.095       29.204       29.312       29.420     29.529   29.637    29.745         29.854        29.962       30.070   30.179
                            49          30.287       30.401       30.516       30.630      30.745      30.859   30.974   31.088          31.202        31.317       31.431   31.546
                            50          31.660       31.781       31.902       32.023      32.144      32.265   32.387   32.508          32.629        32.750       32.871   32.992

                            51          33.113       33.241      33.370        33.498      33.626      33.754   33.883   34.011          34.139        34.267       34.396   34.524
                            52          34.652       34.788      34.925        35.061      35.197      35.333   35.470   35.606          35.742        35.878       36.015   36.151
                            53         36.287       36.432       36.577       36.722       36.866      37.011   37.156   37.301          37.446        37.591       37.735   37.880
                            54         38.025       38.179       38.334       38.488       38.642      38.796   38.951   39.105          39.259        39.413       39.568   39.722
                            55         39.876       40.040       40.205       40.369       40.534      40.698   40.863   41.027          41.191        41.356       41.520   41.685
                            56         41.849       42.025       42.200       42.376       42.552      42.727   42.903   43.079          43.254        43.430       43.606   43.781
                            57         43.957       44.145       44.333       44.522       44.710      44.898   45.086   45.274          45.462        45.651       45.839   46.027
                            58         46.215       46.417       46.619       46.822       47.024      47.226   47.428   47.630          47.832        48.035       48.237   48.439
                           59          48.641       48.858       49.076       49.293       49.511      49.728   49.946   50.163          50.380        50.598       50.815   51.033
                           60          51.250       51.485       51.719       51.954       52.189      52.423   52.658   52.893          53.127        53.362       53.597   53.831

                           61          54.066       54.320       54.574       54.828       55.082      55.336   55.590   55.844          56.098        56.352       56.606   56.860
                           62          57.114       57.390       57.666       57.942       58.218      58.494   58.771   59.047          59.323        59.599       59.875   60.151
                           63          60.427       60.728       61.029       61.330       61.631      61.932   62.234   62.535          62.836        63.137       63.438   63.739
                           64          64.040       64.370       64.700       65.029       65.359      65.689   66.019   66.348          66.678        67.008       67.338   67.667
                           65          67.997       68.360       68.722       69.085       69.448      69.810   70.173   70.536          70.898        71.261       71.624   71.986
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                           66          72.349       72.750       73.151       73.552       73.953      74.354   74.755   75.155          75.556        75.957       76.358   76.759
                           67          77.160       77.604       78.049       78.493       78.938      79.382   79.827   80.271          80.715        81.160      81.604    82.049
                           68          82.493       82.986       83.480       83.973       84.466      84.960   85.453   85.946          86.440        86.933      87.426    87.920
                           69          88.413       88.962       89.510       90.059       90.607      91.156   91.705   92.253          92.802        93.350      93.899    94.447
                           70          94.996       87.080       79.163       71.247       63.331      55.414   47.496   39.582          31.665        23.749      15.833     7.916

                           71         102.352
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY            n1=         7
                                                                                                                                                                       n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                             GREATER FACTOR PRODUCED FROM
                                                                                                                                     EITHER: INT=        4.50%     OR: INT=     7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                            k1=       1.0400         k1=     1.0750
                                                                                                                                             k2=        1.0400         k2=     1.0750
                                      ****
                                                                                                                                             k3=        1.0400         k3=     1.0750
                                       70 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                0            1            2            3            4        5        6           7               8              9         10        11
                         YEARS

                            36          19.604       19.672       19.740       19.808       19.876     19.944    20.012    20.079          20.147       20.215       20.283    20.351
                            37          20.419       20.490       20.561       20.632       20.703     20.774    20.845    20.916          20.987       21.058       21.129    21.200
                            38          21.271       21.345       21.419       21.494       21.568     21.642    21.716    21.790          21.864       21.939       22.013    22.087
                            39          22.161       22.239       22.316       22.394       22.472     22.549    22.627    22.705          22.782       22.860       22.938    23.015
                            40          23.093       23.174       23.256       23.337       23.418     23.499    23.581    23.662          23.743       23.824       23.906    23.987

                            41          24.068       24.153       24.238       24.323       24.408     24.493    24.579    24.664          24.749       24.834       24.919    25.004
                            42          25.089       25.178       25.267       25.357       25.446     25.535    25.624    25.713          25.802       25.892       25.981    26.070
                            43          26.159       26.253       26.346       26.440       26.534     26.627    26.721    26.815          26.908       27.002       27.096    27.189
                            44          27.283       27.381       27.480       27.578       27.676     27.774    27.873    27.971          28.069       28.167       28.266    28.364
                            45          28.462       28.565       28.669       28.772       28.875     28.979    29.082    29.185          29.289       29.392       29.495    29.599
                            46          29.702       29.811       29.920       30.028       30.137     30.246    30.355    30.463          30.572       30.681       30.790    30.898
                            47          31.007       31.122       31.236       31.351       31.465     31.580    31.695    31.809          31.924       32.038       32.153    32.267
                            48          32.382       32.503       32.624       32.745       32.866     32.987    33.108    33.229          33.350       33.471       33.592    33.713
                            49          33.834       33.962       34.090       34.218       34.345     34.473    34.601    34.729          34.857       34.985       35.112    35.240
                            50          35.368       35.503       35.639       35.774       35.909     36.044    36.180    36.315          36.450       36.585       36.721    36.856

                            51          36.991       37.134       37.278       37.421       37.564     37.707    37.851    37.994          38.137       38.280       38.424    38.567
                            52          38.710       38.862       39.014       39.167       39.319     39.471    39.623    39.775          39.927       40.080       40.232    40.384
                            53          40.536       40.698       40.860       41.022       41.183     41.345    41.507    41.669          41.831       41.993       42.154    42.316
                            54          42.478       42.650       42.823       42.995       43.167     43.340    43.512    43.684          43.857       44.029       44.201    44.374
                            55          44.546       44.730       44.913       45.097       45.281     45.464    45.648    45.832          46.015       46.199       46.383    46.566
                            56          46.750       46.946       47.143       47.339       47.535     47.731    47.928    48.124          48.320       48.516       48.713    48.909
                            57          49.105       49.315       49.526       49.736       49.946     50.156    50.367    50.577          50.787       50.997       51.208    51.418
                            58          51.628       51.854       52.080       52.305       52.531     52.757    52.983    53.208          53.434       53.660       53.886    54.111
                            59          54.337       54.580       54.823       55.066       55.309     55.552    55.795    56.037          56.280       56.523       56.766    57.009
                            60          57.252       57.514       57.776       58.039       58.301     58.563    58.825    59.087          59.349       59.612       59.874    60.136

                            61          60.398       60.682       60.966       61.249       61.533     61.817    62.101    62.384          62.668       62.952       63.236    63.519
                            62          63.803       64.111       64.420       64.728       65.037     65.345    65.654    65.962          66.270       66.579       66.887    67.196
                            63          67.504       67.840       68.177       68.513       68.850     69.186    69.523    69.859          70.195       70.532       70.868    71.205
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                            64          71.541       71.909       72.278       72.646       73.014     73.383    73.751    74.119          74.488       74.856       75.224    75.593
                            65          75.961       76.366       76.771       77.177       77.582     77.987    78.392    78.797          79.202       79.608       80.013    80.418
                            66         80.823        81.271       81.719       82.167       82.614     83.062    83.510    83.958          84.406       84.854       85.301    85.749
                            67         86.197        86.694       87.190       87.687       88.183     88.680    89.176    89.673          90.169       90.666       91.162    91.659
                            68         92.155        92.706      93.257       93.808       94.359      94.910    95.462    96.013          96.564       97.115       97.666    98.217
                            69         98.768        99.381      99.994      100.607      101.219     101.832   102.445   103.058         103.671      104.284      104.896   105.509
                            70        106.122
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                     n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       69 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0           1           2           3           4        5        6                7               8              9       10        11
                         YEARS


                            35         20.943      21.015      21.088      21.160      21.233       21.305     21.378      21.450          21.522       21.595     21.667    21.740
                            36         21.812      21.888      21.963      22.039      22.114       22.190     22.266      22.341          22.417       22.492     22.568    22.643
                            37         22.719      22.798      22.877      22.956      23.035       23.114     23.193      23.271          23.350       23.429     23.508    23.587
                            38         23.666      23.749      23.831      23.914      23.996       24.079     24.162      24.244          24.327       24.409     24.492    24.574
                            39         24.657      24.743      24.830      24.916      25.002       25.089     25.175      25.261          25.348       25.434     25.520    25.607
                            40         25.693      25.783      25.874      25.964      26.055       26.145     26.236      26.326          26.416       26.507     26.597    26.688

                            41         26.778      26.873      26.967      27.062      27.157      27.251      27.346      27.441          27.535       27.630     27.725    27.819
                            42         27.914      28.013      28.113      28.212      28.311      28.410      28.510      28.609          28.708       28.807     28.907    29.006
                            43         29.105      29.209      29.313      29.418      29.522       29.626     29.730      29.834          29.938       30.043     30.147    30.251
                            44         30.355      30.464      30.574      30.683      30.792      30.902      31.011      31.120          31.230       31.339     31.448    31.558
                            45         31.667      31.782      31.897      32.012      32.127      32.242      32.357      32.471          32.586       32.701     32.816    32.931
                            46         33.046      33.167      33.288      33.409      33.530      33.651      33.772      33.893          34.014       34.135     34.256    34.377
                            47         34.498      34.626      34.753      34.881      35.008      35.136      35.264      35.391          35.519       35.646     35.774    35.901
                            48         36.029      36.164      36.298      36.433      36.567      36.702      36.837      36.971          37.106       37.240     37.375    37.509
                            49         37.644      37.786      37.929      38.071      38.213      38.355      38.498      38.640          38.782       38.924     39.067    39.209
                            50         39.351      39.501      39.652      39.802      39.953      40.103      40.254      40.404          40.554       40.705     40.855    41.006

                            51         41.156      41.315      41.475      41.634      41.794      41.953      42.113      42.272          42.431       42.591     42.750    42.910
                            52         43.069      43.238      43.408      43.577      43.746      43.916      44.085      44.254          44.424       44.593     44.762    44.932
                            53         45.101      45.281      45.461      45.641      45.821      46.001      46.182      46.362          46.542       46.722     46.902    47.082
                            54         47.262      47.454      47.645      47.837      48.029      48.220      48.412      48.604          48.795       48.987     49.179    49.370
                            55         49.562      49.766      49.971      50.175      50.380      50.584      50.789      50.993          51.197       51.402     51.606    51.811
                            56         52.015      52.233      52.452      52.670      52.888      53.107      53.325      53.543          53.762       53.980     54.198    54.417
                            57         54.635      54.869      55.103      55.337      55.570      55.804      56.038      56.272          56.506       56.740     56.973    57.207
                            58         57.441      57.692      57.944      58.195      58.446      58.697      58.949      59.200          59.451       59.702     59.954    60.205
                            59         60.456      60.726      60.997      61.267      61.537      61.807      62.078      62.348          62.618       62.888     63.159    63.429
                            60         63.699      63.991      64.282      64.574      64.866      65.157      65.449      65.741          66.032       66.324     66.616    66.907

                            61         67.199      67.515      67.831      68.146      68.462      68.778      69.094      69.409          69.725       70.041     70.357    70.672
                            62         70.988      71.331      71.674      72.017      72.360      72.703      73.047      73.390          73.733       74.076     74.419    74.762
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                            63         75.105      75.479      75.854      76.228      76.602      76.976      77.351      77.725          78.099       78.473     78.848    79.222
                            64         79.596      80.006      80.416      80.826      81.235      81.645      82.055      82.465          82.875       83.285     83.694    84.104
                            65         84.514      84.965      85.416      85.867      86.317      86.768      87.219      87.670          88.121       88.572     89.022    89.473
                            66         89.924      90.422      90.921      91.419      91.917      92.416      92.914      93.412          93.911       94.409     94.907    95.406
                           67          95.904      96.456      97.009      97.561      98.113      98.666      99.218      99.770         100.323      100.875    101.427   101.980
                           68         102.532     103.145     103.758     104.372     104.985     105.598     106.211     106.824         107.437      108.051    108.664   109.277
                           69         109.890
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                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 13 of 56

                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                       n2=          8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=         7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                           k2=      1.0400         k2=         1.0750
                                                                                                                                           k3=      1.0400         k3=         1.0750
                                        68 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      • 4f•

                        SPOUSE
                         AGE AT                                                                   NEAREST MONTH
                       CASHOUT                0          1           2            3           4        5        6                 7              8              9       10        11
                         YEARS


                             34         22.292       22.369      22.446      22.523      22.599      22.676      22.753      22.830          22.907       22.984     23.060    23.137
                             35         23.214       23.294      23.375      23.455      23.535      23.615      23.696      23.776          23.856       23.936     24.017    24.097
                             36         24.177       24.261      24.345      24.428      24.512      24.596      24.680      24.763          24.847       24.931     25.015    25.098
                             37         25.182       25.270      25.357      25.445      25.532      25.620      25.707      25.795          25.882       25.970     26.057    26.145
                             38         26.232      26.324       26.415      26.507      26.598      26.690      26.781      26.873          26.964       27.056     27.147    27.239
                             39         27.330      27.426       27.522      27.617      27.713      27.809      27.905      28.000          28.096       28.192     28.288    28.383
                             40         28.479      28.579       28.679      28.780      28.880      28.980      29.080      29.180          29.280       29.381     29.481    29.581

                             41         29.681      29.786      29.891       29.996      30.101      30.206      30.311      30.415          30.520       30.625     30.730    30.835
                             42         30.940      31.050      31.160       31.270      31.380      31.490      31.601      31.711          31.821       31.931     32.041    32.151
                             43         32.261      32.376      32.492       32.607      32.723      32.838      32.954      33.069          33.184       33.300     33.415    33.531
                             44         33.646      33.767      33.888       34.010      34.131      34.252      34.373      34.494         34.615        34.737     34.858    34.979
                             45         35.100      35.227      35.355       35.482      35.610      35.737      35.865      35.992         36.119        36.247     36.374    36.502
                             46         36.629      36.763      36.897       37.031      37.165      37.299      37.434      37.568         37.702        37.836     37.970    38.104
                             47         38.238      38.379      38.521       38.662      38.804      38.945      39.087      39.228          39.369       39.511     39.652    39.794
                             48         39.935      40.084      40.234 -     40.383      40.532      40.681      40.831      40.980          41.129       41.278     41.428    41.577
                             49         41.726      41.884      42.041       42.199      42.356      42.514      42.672      42.829          42.987       43.144     43.302    43.459
                             50         43.617      43.784      43.951       44.117      44.284      44.451      44.618      44.784         44.951        45.118     45.285    45.451

                             51         45.618      45.795      45.972       46.148      46.325      46.502      46.679      46.855         47.032        47.209     47.386    47.562
                            52          47.739      47.927      48.114       48.302      48.490      48.677      48.865      49.053         49.240        49.428     49.616    49.803
                            53          49.991      50.191      50.390       50.590      50.789      50.989      51.189      51.388         51.588        51.787     51.987    52.186
                            54          52.386      52.599      52.811      53.024       53.236      53.449      53.661      53.874         54.086        54.299     54.511    54.724
                            55          54.936      55.163      55.389      55.616       55.842      56.069      56.295      56.522         56.748        56.975     57.201    57.428
                            56          57.654      57.896      58.138      58.380       58.622      58.864      59.106      59.348         59.590        59.832     60.074    60.316
                             57         60.558      60.817      61.077       61.336      61.595      61.854      62.114      62.373         62.632        62.891     63.151    63.410
                            58          63.669      63.948      64.226      64.505      64.783       65.062      65.340      65.619         65.897        66.176     66.454    66.733
                            59          67.011      67.311      67.610      67.910      68.209       68.509      68.809      69.108         69.408        69.707     70.007    70.306
                            60          70.606      70.929      71.253      71.576      71.899       72.222      72.546      72.869         73.192        73.515     73.839    74.162

                            61          74.485      74.835      75.185      75.535      75.885       76.235      76.585      76.935         77.285        77.635     77.985    78.335
17ZE17000-1 JewelAl




                            62          78.685      79.065      79.446      79.826      80.206       80.586      80.967      81.347         81.727        82.107     82.488    82.868
                            63          83.248      83.663      84.078      84.493      84.907       85.322      85.737      86.152         86.567        86.982     87.396    87.811
                            64          88.226      88.680      89.135      89.589      90.043       90.497      90.952      91.406         91.860        92.314     92.769    93.223
                            65          93.677      94.177      94.676      95.176      95.676       96.175      96.675      97.175         97.674        98.174     98.674    99.173
                            66          99.673     100.225     100.778     101.330     101.883      102.435     102.988     103.540        104.092       104.645    105.197   105.750
                            67         106.302     106.914     107.527     108.139     108.751      109.363     109.976     110.588        111.200       111.812    112.425   113.037
                            68         113.649
1V11NOUNO0
                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 14 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY            n1=          7
                                                                                                                                                                       n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                             GREATER FACTOR PRODUCED FROM
                                                                                                                                    EITHER: INT=         4.50%     OR: INT=    7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                           k1=        1.0400          k1=    1.0750
                                                                                                                                             k2=        1.0400          k2=    1.0750
                                                                                                                                             k3=        1.0400          k3=    1.0750
                                        67 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      • tts
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT               0             1            2            3           4         5        6            7              8              9         10        11
                        YEARS


                            33          23.847       23.728       23.810       23.891       23.972     24.053    24.135    24.216          24.297       24.378       24.460    24.541
                            34          24.822       24.707       24.792       24.877       24.962     25.047    25.132    25.216          25.301       25.386       25.471    25.556
                            35          25.641       25.730       25.818       25.907       25.995     26.084    26.173    26.261          26.350       26.438       26.527    26.615
                            36          26.704       26.797       26.889       26.982       27.074     27.167    27.259    27.352          27.444       27.537       27.629    27.722
                            37          27.814       27.911       28.007       28.104       28.201     28.297    28.394    28.491         28.587        28.684       28.781    28.877
                            38          28.974       29.075       29.176       29.277       29.378     29.479    29.581    29.682         29.783        29.884       29.985    30.086
                            39          30.187       30.293       30.399       30.504       30.610     30.716    30.822    30.927         31.033        31.139       31.245    31.350
                            40          31.456       31.567       31.677       31.788       31.899     32.009    32.120    32.231         32.341        32.452       32.563    32.673

                            41          32.784       32.900       33.016       33.132       33.248     33.364    33.480    33.595          33.711       33.827       33.943    34.059
                            42          34.175       34.297       34.418       34.540       34.661     34.783    34.904    35.026         35.147        35.269       35.390    35.512
                            43          35.633       35.761       35.888       36.016       36.143     36.271    36.398    36.526         36.653        36.781       36.908    37.036
                            44          37.163       37.297       37.431       37.565      37.698      37.832    37.966    38.100         38.234        38.368       38.501    38.635
                            45          38.769       38.910       39.051       39.191      39.332      39.473    39.614    39.754         39.895        40.036       40.177    40.317
                            46          40.458       40.606       40.754       40.902      41.050      41.198    41.347    41.495         41.643        41.791       41.939    42.087
                            47         42.235        42.391      42.547       42.704       42.860      43.016    43.172    43.328         43.484        43.641       43.797    43.953
                            48         44.109        44.274      44.439       44.604       44.768      44.933    45.098    45.263         45.428        45.593       45.757    45.922
                            49         46.087       46.261       46.435       46.609       46.783      46.957    47.132    47.306         47.480        47.654       47.828    48.002
                            50         48.176       48.360       48.545       48.729       48.913      49.097    49.282    49.466         49.650        49.834       50.019    50.203

                            51         50.387       50.582       50.777       50.973       51.168      51.363    51.558    51.753         51.948        52.144       52.339    52.534
                            52         52.729       52.936       53.144       53.351       53.558      53.765    53.973    54.180         54.387        54.594       54.802    55.009
                            53         55.216       55.436       55.657       55.877       56.098      56.318    56.539    56.759         56.979        57.200       57.420    57.641
                            54         57.861       58.096       58.331       58.565       58.800      59.035    59.270    59.504         59.739        59.974       60.209    60.443
                            55         60.678       60.928       61.178       61.429       61.679      61.929    62.179    62.429         62.679        62.930       63.180    63.430
                            56         63.680       63.947       64.215       64.482       64.749      65.017    65.284    65.551         65.819        66.086       66.353    66.621
                            57         66.888       67.174       67.461       67.747       68.033      68.320    68.606    68.892         69.179        69.465       69.751    70.038
                            58         70.324       70.632       70.939       71.247       71.554      71.862    72.170    72.477         72.785        73.092       73.400    73.707
                            59         74.015       74.346       74.677       75.008       75.339      75.670    76.001    76.331         76.662        76.993       77.324    77.655
                           60          77.986       78.343       78.700       79.057       79.414      79.771    80.128    80.485         80.842        81.199       81.556    81.913
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                           61          82.270       82.657       83.043       83.430       83.816      84.203    84.590    84.976         85.363        85.749       86.136    86.522
                           62          86.909       87.329       87.749       88.169       88.589      89.009    89.430    89.850         90.270        90.690       91.110    91.530
                           63          91.950       92.408       92.866       93.325       93.783      94.241    94.699    95.157         95.615        96.074       96.532    96.990
                           64          97.448       97.950       98.452       98.953       99.455      99.957   100.459   100.960        101.462       101.964      102.466   102.967
                           65         103.469      104.021      104.573      105.125      105.677     106.229   106.781   107.332        107.884       108.436      108.988   109.540
                           66         110.092      110.702      111.312      111.922      112.532     113.142   113.753   114.363        114.973       115.583      116.193   116.803
                           67         117.413
1V11NOHNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                      n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                          k2=      1.0400         k2=         1.0750
                                                                                                                                          k3=      1.0400         k3=         1.0750
                                       66 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT

                       SPOUSE
                        AGE AT                                                                   NEAREST MONTH
                      CASH OUT              0           1           2            3           4        5        6                7               8              9       10        11
                        YEARS


                            32         25.002       25.088      25.174      25.260      25.345      25.431      25.517      25.603          25.689       25.775     25.860    25.946
                            33         26.032       26.122      26.211      26.301      26.390      26.480      26.569      26.659          26.748       26.838     26.927    27.017
                            34         27.106       27.199      27.293      27.386      27.480      27.573      27.667      27.760          27.853       27.947     28.040    28.134
                            35         28.227       28.325      28.422      28.520      28.617      28.715      28.812      28.910          29.007       29.105     29.202    29.300
                            36         29.397      29.499       29.601      29.703      29.805      29.907      30.009      30.110          30.212       30.314     30.416    30.518
                            37         30.620      30.726       30.833      30.939      31.046      31.152      31.259      31.365          31.471       31.578     31.684    31.791
                            38         31.897      32.008      32.120       32.231      32.342      32.453      32.565      32.676          32.787       32.898     33.010    33.121
                            39         33.232      33.348      33.465       33.581      33.698      33.814      33.931      34.047          34.163       34.280     34.396    34.513
                            40         34.629      34.751      34.873       34.995      35.116      35.238      35.360      35.482          35.604       35.726     35.847    35.969

                            41         36.091      36.219      36.346       36.474      36.601      36.729      36.857      36.984          37.112       37.239     37.367    37.494
                            42         37.622      37.756      37.890       38.023      38.157      38.291      38.425      38.558          38.692       38.826     38.960    39.093
                            43         39.227      39.367      39.508       39.648      39.788      39.929      40.069      40.209          40.350       40.490     40.630    40.771
                            44         40.911      41.058      41.206       41.353      41.501      41.648      41.796      41.943          42.090       42.238     42.385    42.533
                            45         42.680      42.835      42.990       43.145      43.300      43.455      43.610      43.764          43.919       44.074     44.229    44.384
                            46         44.539      44.702      44.865       45.028      45.191      45.354      45.518      45.681          45.844       46.007     46.170    46.333
                            47         46.496      46.668      46.840       47.012      47.184      47.356      47.528      47.699          47.871       48.043     48.215    48.387
                            48         48.559      48.740      48.922       49.103      49.285      49.466      49.648      49.829          50.010       50.192     50.373    50.555
                            49         50.736      50.928      51.119       51.311      51.503      51.694      51.886      52.078          52.269       52.461     52.653    52.844
                            50         53.036      53.239      53.442       53.644      53.847      54.050      54.253      54.455          54.658       54.861     55.064    55.266

                            51         55.469      55.684      55.899      56.114       56.329      56.544      56.759      56.973          57.188       57.403     57.618    57.833
                            52         58.048      58.276      58.504      58.733       58.961      59.189      59.417      59.645          59.873       60.102     60.330    60.558
                            53         60.786      61.029      61.271      61.514       61.757      61.999      62.242      62.485         62.727        62.970     63.213    63.455
                            54         63.698      63.956      64.215      64.473       64.732      64.990      65.249      65.507         65.765        66.024     66.282    66.541
                            55         66.799      67.074      67.350      67.625       67.901      68.176      68.452      68.727         69.002        69.278     69.553    69.829
                            56         70.104      70.398      70.693      70.987       71.281      71.576      71.870      72.164         72.459        72.753     73.047    73.342
                            57         73.636      73.951      74.266      74.582       74.897      75.212      75.527      75.842         76.157        76.473     76.788    77.103
                            58         77.418      77.757      78.095      78.434       78.773      79.111      79.450      79.789         80.127        80.466     80.805    81.143
                            59         81.482      81.846      82.211      82.575       82.939      83.303      83.668      84.032         84.396        84.760     85.125    85.489
                            60         85.853      86.246      86.639      87.032       87.425      87.818      88.212      88.605         88.998        89.391     89.784    90.177
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                           61          90.570      90.996      91.421      91.847       92.272      92.698      93.123      93.549         93.974        94.400     94.825    95.251
                           62          95.676      96.138      96.601      97.063       97.526      97.988      98.451      98.913         99.375        99.838    100.300   100.763
                           63         101.225     101.730     102.234     102.739      103.243     103.748     104.252     104.757        105.261       105.766    106.270   106.775
                           64         107.279     107.831     108.384     108.936      109.488     110.041     110.593     111.145        111.698       112.250    112.802   113.355
                           65         113.907     114.515     115.122     115.730      116.337     116.945     117.552     118.160        118.767       119.375    119.982   120.590
                           66         121.197
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY             n1 =        7
                                                                                                                                                                         n2=         8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                             GREATER FACTOR PRODUCED FROM
                                                                                                                                     EITHER: INT=         4.50%     OR: INT=     7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                           k1 =       1.0400          k1 =   1.0750
                                                                                                                                              k2=        1.0400          k2=    1.0750
                                       *•**
                                                                                                                                              k3=        1.0400          k3=     1.0750
                                        65 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       ****
                        SPOUSE
                         AGE AT                                                                       NEAREST MONTH
                       CASHOUT                0            1            2            3           4         5        6           7               8              9          10        11
                         YEARS


                            31           26.352       26.443       26.533       26.624       26.714     26.805    26.895    26.986          27.076       27.167       27.257     27.348
                            32           27.438       27.532       27.627       27.721       27.815     27.909    28.004    28.098          28.192       28.286       28.381     28.475
                            33           28.569       28.667       28.766       28.864       28.962     29.060    29.159    29.257          29.355       29.453       29.552     29.650
                            34           29.748       29.851       29.953       30.056       30.158     30.261    30.363    30.466          30.568       30.671       30.773     30.876
                            35           30.978       31.085       31.192       31.299       31.406     31.513    31.620    31.727          31.834       31.941       32.048     32.155
                            36           32.262       32.374       32.486       32.597       32.709     32.821    32.933    33.044          33.156       33.268       33.380     33.491
                            37           33.603       33.720       33.837       33.954       34.070     34.187    34.304    34.421          34.538       34.655       34.771     34.888
                            38           35.005       35.127       35.249       35.371       35.493     35.615    35.738    35.860          35.982       36.104       36.226     36.348
                            39           36.470       36.598       36.726       36.853       36.981     37.109    37.237    37.364          37.492       37.620       37.748     37.875
                             40          38.003       38.137       38.271       38.404       38.538     38.672    38.806    38.939          39.073       39.207       39.341     39.474

                            41           39.608       39.748       39.888       40.028       40.168     40.308    40.448    40.588          40.728       40.868       41.008     41.148
                            42           41.288       41.435       41.582       41.729       41.875     42.022    42.169    42.316          42.463       42.610       42.756     42.903
                            43           43.050       43.204       43.358       43.512       43.666     43.820    43.974    44.128          44.282       44.436       44.590     44.744
                             44          44.898       45.060       45.222       45.383       45.545     45.707    45.869    46.030          46.192       46.354       46.516     46.677
                            45           46.839       47.009       47.179       47.349       47.519     47.689    47.859    48.029          48.199       48.369       48.539     48.709
                            46           48.879       49.058       49.237       49.416       49.595     49.774    49.953    50.132          50.311       50.490       50.669     50.848
                            47           51.027       51.216       51.404       51.593       51.781     51.970    52.159    52.347          52.536       52.724       52.913     53.101
                            48           53.290       53.489       53.688       53.888       54.087     54.286    54.485    54.684          54.883       55.083       55.282     55.481
                            49           55.680       55.890       56.101       56.311       56.521     56.732    56.942    57.152          57.363       57.573       57.783     57.994
                            50           58.204       58.427       58.649       58.872       59.094     59.317    59.539    59.762          59.984       60.207       60.429     60.652

                            51           60.874       61.110       61.346       61.582       61.817     62.053    62.289    62.525          62.761       62.997       63.232     63.468
                            52           63.704       63.954       64.205       64.455       64.706     64.956    65.207    65.457          65.707       65.958       66.208     66.459
                            53           66.709       66.975       67.242       67.508       67.774     68.041    68.307    68.573          68.840       69.106       69.372     69.639
                            54           69.905       70.189       70.472       70.756       71.039     71.323    71.607    71.890          72.174       72.457       72.741     73.024
                            55           73.308       73.610       73.913       74.215       74.517     74.819    75.122    75.424          75.726       76.028       76.331     76.633
                            56           76.935       77.258       77.581       77.904       78.227     78.550    78.873    79.196          79.519       79.842       80.165     80.488
                            57           80.811       81.157       81.503       81.849       82.195     82.541    82.887    83.232          83.578       83.924       84.270     84.616
                            58           84.962       85.334       85.705       86.077       86.448     86.820    87.192    87.563          87.935       88.306       88.678     89.049
                            59           89.421       89.821       90.221       90.621       91.020     91.420    91.820    92.220          92.620       93.020       93.419     93.819
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                            60           94.219       94.650       95.082       95.513       95.944     96.376    96.807    97.238          97.670       98.101       98.532     98.964

                            61           99.395       99.862      100.329      100.796      101.263    101.730   102.197   102.664         103.131      103.598      104.065    104.532
                            62          104.999      105.507      106.014      106.522      107.029    107.537   108.044   108.552         109.059      109.567      110.074    110.582
                            63          111.089      111.643      112.196      112.750      113.303    113.857   114.411   114.964         115.518      116.071      116.625    117.178
                            64          117.732      118.338      118.944      119.551      120.157    120.763   121.369   121.975         122.581      123.188      123.794    124.400
                            65          125.006
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY          n1=         7
                                                                                                                                                                      n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=      4.50%     OR: INT=        7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =       1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                      ****
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       64 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                        AGE AT                                                                   NEAREST MONTH
                      CASHOUT              0            1           2           3           4         5        6                7               8              9       10        11
                         YEARS



                            31         28.835       28.934      29.033      29.132      29.231      29.330      29.429      29.528          29.627        29.726   29.825    29.924
                            32         30.023       30.126      30.229      30.332      30.435      30.538      30.642      30.745          30.848        30.951   31.054    31.157
                            33         31.260       31.368      31.475      31.583      31.690      31.798      31.905      32.013          32.120        32.228   32.335    32.443
                            34         32.550       32.662      32.774      32.887      32.999      33.111      33.223      33.335          33.447        33.560   33.672    33.784
                            35         33.896       34.013      34.130      34.247      34.364      34.481      34.599      34.716          34.833        34.950   35.067    35.184
                            36         35.301       35.423      35.546      35.668      35.790      35.913      36.035      36.157          36.280        36.402   36.524    36.647
                            37         36.769       36.897      37.025      37.153      37.280      37.408      37.536      37.664          37.792        37.920    38.047   38.175
                            38         38.303       38.437      38.570      38.704      38.837      38.971      39.105      39.238          39.372        39.505    39.639   39.772
                            39         39.906       40.046      40.186      40.326      40.465      40.605      40.745      40.885          41.025        41.165    41.304   41.444
                            40         41.584       41.730      41.877      42.023      42.169      42.315      42.462      42.608          42.754        42.900    43.047    43.193

                            41         43.339       43.492      43.646      43.799      43.952      44.105      44.259      44.412          44.565        44.718    44.872    45.025
                            42         45.178       45.339      45.499      45.660      45.820      45.981      46.142      46.302          46.463        46.623    46.784    46.944
                            43         47.105       47.274      47.442      47.611      47.779      47.948      48.117      48.285          48.454        48.622    48.791   48.959
                            44         49.128       49.305      49.482      49.659      49.836      50.013      50.190      50.367          50.544        50.721    50.898    51.075
                            45         51.252       51.438      51.624      51.810      51.996      52.182      52.368      52.554          52.740        52.926    53.112    53.298
                            46         53.484       53.680      53.876      54.072      54.267      54.463      54.659      54.855          55.051        55.247    55.442    55.638
                            47         55.834       56.040      56.247      56.453      56.660      56.866      57.073      57.279          57.485        57.692    57.898   58.105
                            48         58.311       58.529      58.747      58.965      59.183      59.401      59.619      59.836          60.054        60.272    60.490   60.708
                            49         60:926       61.156      61.386      61.617      61.847      62.077      62.307      62.537          62.767        62.998    63.228    63.458
                            50         63.688       63.932      64.175      64.419      64.662      64.906      65.149      65.393          65.636        65.880    66.123    66.367

                            51         66.610       66.868      67.126      67.384      67.642      67.900      68.158      68.416          68.674        68.932    69.190    69.448
                            52         69:706       69.980      70.254      70.528      70.802      71.076      71.350      71.624          71.898        72.172    72.446   72.720
                            53         72.994       73.285      73.577      73.868      74.160      74.451      74.743      75.034          75.325        75.617    75.908   76.200
                            54         76.491       76.801      77.112      77.422      77.732      78.043      78.353      78.663          78.974        79.284    79.594    79.905
                            55         80.215       80.546      80.877      81.207      81.538      81.869      82.200      82.530          82.861        83.192    83.523    83.853
                            56         84.184       84.537      84.891      85.244      85.597      85.951      86.304      86.657          87.011        87.364    87.717    88.071
                            57         88.424       88.803      89.181      89.560      89.938      90.317      90.696      91.074          91.453        91.831    92.210    92.588
                            58         92.967       93.374      93.780      94.187      94.593      95.000      95.407      95.813          96.220        96.626    97.033    97.439
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                            59         97.846       98.283      98.721      99.158      99.596     100.033     100.471     100.908         101.345       101.783   102.220   102.658
                            60        103.095      103.567     104.039     104.511     104.983     105.455     105.927     106.399         106.871       107.343   107.815   108.287

                            61        108.759      109.270     109.781     110.292     110.803     111.314     111.825     112.336         112.847       113.358   113.869   114.380
                            62        114.891      115.446     116.002     116.557     117.112     117.668     118.223     118.778         119.334       119.889   120.444   121.000
                            63        121.555      122.161     122.767     123.372     123.978     124.584     125.190     125.795         126.401       127.007   127.613   128.218
                            64        128.824--1
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                       n2=         8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=         7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400         k1=        1.0750
                                                                                                                                           k2=      1.0400         k2=        1.0750
                                                                                                                                           k3=      1.0400         k3=        1.0750
                                        63 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                         AGE AT                                                                   NEAREST MONTH
                       CASHOUT               0           1           2           3           4         5        6                7               8              9       10        11
                         YEARS

                             30         30.221       30.325      30.428      30.532     30.635       30.739     30.843      30.946           31.050       31.153    31.257    31.360

                             31         31.464       31.572      31.680      31.788     31.896       32.004     32.112      32.220           32.328       32.436    32.544    32.652
                             32         32.760       32.873      32.985      33.098     33.210       33.323     33.436      33.548           33.661       33.773    33.886    33.998
                             33         34.111       34.228      34.346      34.463     34.580       34.697     34.815      34.932           35.049       35.166    35.284    35.401
                             34         35.518       35.640      35.763      35.885     36.008       36.130     36.253      36.375           36.497       36.620    36.742    36.865
                             35         36.987       37.115      37.243      37.370     37.498       37.626     37.754      37.881           38.009       38.137    38.265    38.392
                             36         38.520       38.654      38.787      38.921     39.054       39.188     39.321      39.455           39.588       39.722    39.855    39.989
                             37         40.122       40.261      40.401      40.540     40.680       40.819     40.959      41.098           41.237       41.377    41.516    41.656
                             38         41.795       41.941      42.087      42.233      42.378      42.524      42.670     42.816           42.962       43.108    43.253    43.399
                             39         43.545       43.698      43.850      44.003      44.155      44.308      44.460     44.613           44.765       44.918    45.070    45.223
                             40         45.375       45.535      45.694      45.854      46.014      46.173      46.333     46.493           46.652        46.812   46.972    47.131

                             41         47.291       47.458      47.625      47.793      47.960      48.127      48.294     48.461           48.628        48.796   48.963    49.130
                             42         49.297       49.472      49.648      49.823      49.998      50.173      50.349     50.524           50.699        50.874   51.050    51.225
                             43         51.400       51.584      51.768      51.952      52.136      52.320      52.504     52.687           52.871        53.055   53.239    53.423
                             44         53.607       53.800      53.993      54.187      54.380      54.573      54.766     54.959           55.152        55.346   55.539    55.732
                             45         55.925       56.128      56.331      56.534      56.737      56.940      57.143     57.346           57.549        57.752   57.955    58.158
                             46         58.361       58.575      58.788      59.002      59.216      59.429      59.643     59.857           60.070        60.284   60.498    60.711
                             47         60.925       61.150      61.376      61.601      61.826      62.051      62.277     62.502           62.727        62.952   63.178    63.403
                             48         63.628       63.866      64.104      64.341      64.579      64.817      65.055      65.292          65.530        65.768    66.006    66.243
                             49         66.481       66.732      66.983      67.235      67.486      67.737      67.988      68.239          68.490        68.742    68.993   69.244
                             50         69.495       69.761      70.026      70.292      70.558      70.823      71.089      71.355          71.620        71.886    72.152   72.417

                             51         72.683       72.965      73.246      73.528      73.809      74.091      74.373      74.654          74.936        75.217    75.499   75.780
                             52         76.062       76.361      76.660      76.959      77.258      77.557      77.856      78.155          78.454        78.753    79.052    79.351
                             53         79.650       79.968      80.286      80.604      80.922      81.240      81.558      81.875          82.193        82.511    82.829    83.147
                             54         83.465       83.804      84.142      84.481      84.820      85.158      85.497      85.836          86.174        86.513    86.852    87.190
                             55         87.529       87.890      88.251      88.612      88.972      89.333      89.694      90.055          90.416        90.777    91.137    91.498
                             56         91.859       92.245      92.630      93.016      93.402      93.787      94.173      94.559          94.944        95.330    95.716    96.101
                             57         96.487       96.900      97.313      97.726      98.139      98.552      98.965      99.378          99.791       100.204   100.617   101.030
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                             58        101.443      101.887     102.330     102.774     103.218     103.661     104.105     104.549         104.992       105.436   105.880   106.323
                             59        106.767      107.244     107.722     108.199     108.676     109.154     109.631     110.108         110.586       111.063   111.540   112.018
                            60         112.495      113.010     113.525     114.040     114.555     115.070     115.586     116.101         116.616       117.131   117.646   118.161

                            61         118.676     119.234      119.791     120.349     120.906     121.464     122.022     122.579         123.137       123.694   124.252   124.809
                            62         125.367     125.973      126.579     127.185     127.791     128.397     129.003     129.608         130.214       130.820   131.426   132.032
                            63         132.638
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY             n1 =         7
                                                                                                                                                                        n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                    GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=            4.50%     OR: INT=     7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1=           1.0400          k1 =    1.0750
                                                                                                                                          k2=           1.0400          k2=     1.0750
                                                                                                                                          k3=           1.0400          k3=     1.0750
                                       62 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT               0             1            2            3            4        5        6            7              8              9          10         11
                        YEARS


                            29          31.591       31.699       31.808       31.916       32.024     32.132    32.241    32.349          32.457       32.565       32.674     32.782
                            30          32.890       33.003       33.116       33.229       33.341     33.454    33.567    33.680          33.793       33.906       34.018     34.131

                            31          34.244       34.362       34.479       34.597       34.714     34.832    34.949    35.067          35.184       35.302       35.419     35.537
                            32          35.654       35.777       35.899       36.022       36.144     36.267    36.389    36.512          36.634       36.757       36.879     37.002
                            33          37.124       37.252       37.379       37.507       37.634     37.762    37.890    38.017          38.145       38.272       38.400     38.527
                            34          38.655       38.788       38.922       39.055       39.188     39.321    39.455    39.588          39.721       39.854       39.988     40.121
                            35         40.254        40.393       40.532       40.671       40.810     40.949    41.089    41.228          41.367       41.506       41.645     41.784
                            36         41.923        42.068       42.214       42.359       42.504     42.649    42.795    42.940          43.085       43.230       43.376     43.521
                            37         43.666        43.818       43.970       44.121       44.273     44.425    44.577    44.728          44.880       45.032       45.184     45.335
                            38         45.487        45.646       45.804       45.963      46.122      46.280    46.439    46.598         46.756        46.915       47.074     47.232
                            39         47.391        47.557       47.723       47.889      48.055      48.221    48.387    48.553         48.719        48.885       49.051     49.217
                            40         49.383        49.557       49.731       49.904      50.078      50.252    50.426    50.599         50.773        50.947       51.121     51.294

                            41         51.468        51.650       51.832       52.014      52.196      52.378    52.560    52.742         52.924        53.106       53.288     53.470
                            42         53.652       53.843        54.034      54.224       54.415      54.606    54.797    54.987         55.178        55.369       55.560     55.750
                            43         55.941       56.141        56.341      56.542       56.742      56.942    57.142    57.342         57.542        57.743       57.943     58.143
                            44         58.343       58.553       58.763       58.974       59.184      59.394    59.604    59.814         60.024        60.235       60.445     60.655
                            45         60.865       61.086       61.307       61.528       61.749      61.970    62.191    62.411         62.632        62.853       63.074     63.295
                            46         63.516       63.749       63.981       64.214       64.446      64.679    64.911    65.144         65.376        65.609       65.841     66.074
                            47         66.306       66.551       66.796       67.042       67.287      67.532    67.777    68.022         68.267        68.513       68.758     69.003
                            48         69.248       69.507       69.766       70.024       70.283      70.542    70.801    71.059         71.318        71.577       71.836     72.094
                            49         72.353       72.626       72.900       73.173       73.446      73.720    73.993    74.266         74.540        74.813       75.086     75.360
                            50         75.633       75.922       76.211       76.501       76.790      77.079    77.368    77.657         77.946        78.236       78.525     78.814

                            51         79.103       79.409       79.716       80.022       80.329      80.635    80.942    81.248         81.554        81.861       82.167     82.474
                           52          82.780       83.105       83.431       83.756       84.082      84.407    84.733    85.058         85.383        85.709       86.034     86.360
                           53          86.685       87.031       87.377       87.723       88.069      88.415    88.762    89.108         89.454        89.800      90.146      90.492
                           54          90.838       91.207       91.575       91.944       92.312      92.681    93.049    93.418         93.786        94.155      94.523      94.892
                           55          95.260       95.653       96.046       96.439       96.831      97.224    97.617    98.010         98.403        98.796      99.188      99.581
                           56          99.974      100.394      100.813      101.233      101.652     102.072   102.492   102.911        103.331       103.750     104.170     104.589
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                           57         105.009      105.459      105.908      106.358      106.807     107.257   107.707   108.156        108.606       109.055     109.505     109.954
                           58         110.404      110.887      111.370      111.853      112.335     112.818   113.301   113.784        114.267       114.750     115.232     115.715
                           59         116.198      116.718      117.237      117.757      118.276     118.796   119.315   119.835        120.354       120.874     121.393     121.913
                           60         122.432      122.993      123.553      124.114      124.674     125.235   125.795   126.356        126.916       127.476     128.037     128.598

                           61         129.158      129.765      130.372      130.979      131.586     132.193   132.800   133.406        134.013       134.620     135.227     135.834
                           62         136.441
1V11NOUNO0
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                    THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY           n1=         7
                                                                                                                                                                      n2=         8
                                APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                               GREATER FACTOR PRODUCED FROM
                                                                                                                                EITHER: INT=       4.50%    OR: INT=         7.50%
                                PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                         k1 =     1.0400         k1 =        1.0750
                                                                                                                                         k2=      1.0400         k2=         1.0750
                                                                                                                                         k3=      1.0400         k3=         1.0750
                                      61 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                    ****
                      SPOUSE
                       AGE AT                                                                   NEAREST MONTH
                     CASH OUT              0           1           2           3           4         5        6                 7              8              9       10         11
                       YEARS


                           28         32.943      33.056      33.169       33.282      33.394      33.507      33.620      33.733         33.846        33.959     34.071    34.184
                           29         34.297      34.415      34.532       34.650      34.767      34.885      35.002      35.120         35.237        35.355     35.472    35.590
                           30         35.707      35.830      35.952       36.075      36.197      36.320      36.442      36.565         36.687        36.810     36.932    37.055

                           31         37.177      37.305      37.432       37.560      37.687      37.815      37.943      38.070          38.198       38.325     38.453    38.580
                           32         38.708      38.841      38.974       39.107      39.240      39.373      39.506      39.639         39.772        39.905     40.038    40.171
                           33         40.304      40.443      40.581       40.720      40.858      40.997      41.136      41.274         41.413        41.551     41.690    41.828
                           34         41.967      42.112      42.256       42.401      42.545      42.690      42.835      42.979         43.124        43.268     43.413    43.557
                           35         43.702      43.853      44.004       44.155      44.306      44.457      44.608      44.759         44.910        45.061     45.212    45.363
                           36         45.514      45.672      45.829       45.987      46.145      46.302      46.460      46.618         46.775        46.933     47.091    47.248
                           37         47.406      47.571      47.736       47.900      48.065      48.230      48.395      48.559         48.724        48.889     49.054    49.218
                           38         49.383      49.555      49.728       49.900      50.072      50.245      50.417      50.589         50.762        50.934     51.106    51.279
                           39         51.451      51.631      51.811      51.992       52.172      52.352      52.532      52.712         52.892        53.073     53.253    53.433
                           40         53.613      53.802      53.990      54.179       54.368      54.556      54.745      54.934         55.122        55.311     55.500    55.688

                           41         55.877      56.075      56.272      56.470      56.667       56.865      57.062      57.260         57.457        57.655     57.852    58.050
                           42         58.247      58.454      58.661      58.868      59.075       59.282      59.490      59.697         59.904        60.111     60.318    60.525
                           43         60.732      60.949      61.167      61.384      61.601       61.819      62.036      62.253         62.471        62.688     62.905    63.123
                           44         63.340      63.568      63.796      64.025      64.253       64.481      64.709      64.937         65.165        65.394     65.622    65.850
                           45         66.078      66.318      66.558      66.798      67.038       67.278      67.518      67.757         67.997        68.237     68.477    68.717
                           46         68.957      69.209      69.462      69.714      69.967       70.219      70.472      70.724         70.976        71.229     71.481    71.734
                          47          71.986      72.252      72.518      72.785      73.051       73.317      73.583      73.849         74.115        74.382     74.648    74.914
                          48          75.180      75.461      75.742      76.023      76.304       76.585      76.866      77.146         77.427        77.708     77.989    78.270
                          49          78.551      78.848      79.145      79.441      79.738       80.035      80.332      80.628         80.925        81.222     81.519    81.815
                          50          82.112      82.426      82.740      83.054      83.368       83.682      83.996      84.309         84.623        84.937     85.251    85.565

                          51          85.879      86.212      86.544      86.877      87.210       87.542      87.875      88.208         88.540        88.873     89.206    89.538
                          52          89.871      90.224      90.578      90.931      91.284       91.638      91.991      92.344         92.698        93.051     93.404    93.758
                          53          94.111      94.487      94.862      95.238      95.614       95.989      96.365      96.741         97.116        97.492     97.868    98.243
                          54          98.619      99.019      99.419      99.819     100.219      100.619     101.020     101.420        101.820       102.220    102.620   103.020
                          55         103.420     103.846     104.273     104.699     105.126      105.552     105.979     106.405        106.831       107.258    107.684   108.111
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                          56         108.537     108.993     109.448     109.904     110.359      110.815     111.271     111.726        112.182       112.637    113.093   113.548
                          57         114.004     114.492     114.980     115.468     115.956      116.444     116.933     117.421        117.909       118.397    118.885   119.373
                          58         119.861     120.385     120.910     121.434     121.958      122.482     123.007     123.531        124.055       124.579    125.104   125.628
                          59         126.152     126.716     127.280     127.844     128.408      128.972     129.536     130.099        130.663       131.227    131.791   132.355
                          60         132.919     133.528     134.136     134.745     135.353      135.962     136.571     137.179        137.788       138.396    139.005   139.613

                          61         140.222
1V11NOHNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY            n1 =         7
                                                                                                                                                                       n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                             GREATER FACTOR PRODUCED FROM
                                                                                                                                    EITHER: INT=         4.50%     OR: INT=    7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                           k1=        1.0400          k1=    1.0750
                                                                                                                                             k2=        1.0400         k2=     1.0750
                                      ****
                                                                                                                                             k3=        1.0400         k3=     1.0750
                                       60 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT

                        SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                       CASHOUT               0            1            2            3            4          5         6         7              8              9         10        11
                         YEARS


                            26          32.918       33.031       33.144       33.257       33.370     33.483    33.596    33.708          33.821       33.934       34.047    34.160
                            27          34.273       34.390       34.508       34.625       34.743     34.860    34.978    35.095          35.212       35.330       35.447    35.565
                            28          35.682       35.804       35.927       36.049       36.171     36.293    36.416    36.538          36.660       36.782       36.905    37.027
                            29          37.149       37.276       37.404       37.531       37.658     37.786    37.913    38.040          38.168       38.295       38.422    38.550
                            30          38.677       38.810       38.942       39.075       39.207     39.340    39.473    39.605          39.738       39.870       40.003    40.135

                            31          40.268       40.406       40.545       40.683       40.821     40.959    41.098    41.236          41.374       41.512       41.651    41.789
                            32          41.927       42.071       42.215       42.359       42.503     42.647    42.791    42.935          43.079       43.223       43.367    43.511
                            33          43.655       43.805       43.955       44.105       44.255     44.405    44.556    44.706          44.856       45.006       45.156    45.306
                            34          45.456       45.613       45.769       45.926       46.083     46.239    46.396    46.553          46.709       46.866       47.023    47.179
                            35          47.336       47.500       47.663       47.827       47.990     48.154    48.317    48.481          48.644       48.808       48.971    49.135
                            36          49.298       49.469       49.640       49.811       49.981     50.152    50.323    50.494          50.665       50.836       51.006    51.177
                            37          51.348       51.527       51.705       51.884       52.062     52.241    52.419    52.598          52.776       52.955       53.133    53.312
                            38          53.490       53.677       53.863       54.050       54.236     54.423    54.610    54.796          54.983       55.169       55.356    55.542
                            39          55.729       55.924       56.119       56.315       56.510     56.705    56.900    57.095          57.290       57.486       57.681    57.876
                            40          58.071       58.275       58.480       58.684       58.888     59.093    59.297    59.501          59.706       59.910       60.114    60.319

                            41          60.523       60.737       60.951       61.165       61.379     61.593    61.807    62.021          62.235       62.449       62.663    62.877
                            42          63.091       63.315       63.540       63.764      63.988      64.212    64.437    64.661          64.885       65.109       65.334    65.558
                            43          65.782       66.017       66.253       66.488       66.724     66.959    67.195    67.430          67.665       67.901       68.136    68.372
                            44          68.607       68.854       69.101       69.349      69.596      69.843    70.090    70.337          70.584       70.832       71.079    71.326
                            45          71.573       71.833       72.093       72.352      72.612      72.872    73.132    73.391          73.651       73.911       74.171    74.430
                            46          74.690       74.964       75.237       75.511      75.784      76.058    76.331    76.605          76.878       77.152       77.425    77.699
                            47          77.972       78.260       78.549       78.837      79.125      79.413    79.702    79.990          80.278       80.566       80.855    81.143
                            48         81.431        81.735       82.040       82.344      82.648      82.953    83.257    83.561          83.866       84.170       84.474    84.779
                            49          85.083       85.404       85.726       86.047       86.369     86.690    87.012    87.333          87.654       87.976       88.297    88.619
                            50         88.940        89.280       89.620       89.960      90.300      90.640    90.980    91.320          91.660       92.000       92.340    92.680

                            51         93.020        93.380       93.741       94.101      94.461      94.822    95.182    95.542          95.903       96.263       96.623    96.984
                            52         97.344        97.727       98.109       98.492      98.875      99.257    99.640   100.023         100.405      100.788      101.171   101.553
                            53        101.936       102.343     102.750      103.157      103.564     103.971   104.378   104.785         105.192      105.599      106.006   106.413
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                            54        106.820       107.253      107.687      108.120     108.553     108.987   109.420   109.853         110.287      110.720      111.153   111.587
                            55        112.020       112.482     112.944      113.406      113.867     114.329   114.791   115.253         115.715      116.177      116.638   117.100
                            56        117.562       118.056     118.549      119.043      119.536     120.030   120.523   121.017        121.510       122.004      122.497   122.991
                            57        123.484       124.013     124.541      125.070      125.599     126.127   126.656   127.185        127.713       128.242      128.771   129.299
                            58        129.828      130.396      130.964      131.532      132.099     132.667   133.235   133.803        134.371       134.939      135.506   136.074
                            59        138.642      137.253      137.864      138.475      139.085     139.696   140.307   140.918        141.529       142.140      142.750   143.361
                            60        143.972
1V11NOHNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                     n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=      4.50%     OR: INT=        7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                      ****
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       59 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0           1           2           3           4        5        6                7               8              9       10        11
                         YEARS

                            25         34.171      34.288      34.406      34.523      34.640      34.757      34.875      34.992          35.109       35.226     35.344    35.461
                            26         35.578      35.700      35.822      35.944      36.066      36.188      36.310      36.432          36.554       36.676     36.798    36.920
                            27         37.042      37.169      37.296      37.423      37.550      37.677      37.804      37.930          38.057       38.184     38.311    38.438
                            28         38.565      38.697      38.829      38.961      39.093      39.225      39.358      39.490          39.622       39.754     39.886    40.018
                            29         40.150      40.288      40.425      40.563      40.701      40.838      40.976      41.114          41.251       41.389     41.527    41.664
                            30         41.802      41.945      42.089      42.232      42.375      42.519      42.662      42.805          42.949       43.092     43.235    43.379

                            31         43.522      43.671      43.821      43.970      44.120      44.269      44.419      44.568          44.717       44.867     45.016    45.166
                            32         45.315      45.471      45.626      45.782      45.938      46.093      46.249      46.405          46.560       46.716     46.872    47.027
                            33         47.183      47.345      47.507      47.670      47.832      47.994      48.156      48.318          48.480       48.643     48.805    48.967
                            34         49.129      49.298      49.468      49.637      49.806      49.976      50.145      50.314          50.484       50.653     50.822    50.992
                            35         51.161      51.338      51.515      51.691      51.868      52.045      52.222      52.398          52.575       52.752     52.929    53.105
                            36         53.282      53.467      53.651      53.836      54.020      54.205      54.390      54.574          54.759       54.943     55.128    55.312
                            37         55.497      55.690      55.883      56.076      56.269      56.462      56.655      56.847          57.040       57.233     57.426    57.619
                            38         57.812      58.014      58.215      58.417      58.619      58.820      59.022      59.224          59.425       59.627     59.829    60.030
                            39         60.232      60.443      60.654      60.865      61.076      61.287      61.498      61.709          61.920       62.131     62.342    62.553
                            40         62.764      62.985      63.206      63.426      63.647      63.868      64.089      64.309          64.530       64.751     64.972    65.192

                            41         65.413      65.644      65.876      66.107      66.338      66.570      66.801      67.032          67.264       67.495     67.726    67.958
                            42         68.189      68.431      68.674      68.916      69.159      69.401      69.644      69.886          70.128       70.371     70.613    70.856
                            43         71.098      71.352      71.607      71.861      72.116      72.370      72.625      72.879          73.133       73.388     73.642    73.897
                            44         74.151      74.418      74.685      74.952      75.219      75.486      75.754      76.021          76.288       76.555     76.822    77.089
                            45         77.356      77.637      77.918      78.199      78.479      78.760      79.041      79.322          79.603       79.884     80.164    80.445
                            46         80.726      81.022      81.317      81.613      81.908      82.204      82.499      82.795          83.090       83.386     83.681    83.977
                            47         84.272      84.584      84.895      85.207      85.518      85.830      86.142      86.453          86.765       87.076     87.388    87.699
                            48         88.011      88.340      88.669      88.998      89.327      89.656      89.985      90.313          90.642       90.971     91.300    91.629
                            49         91.958      92.305      92.653      93.000      93.348      93.695      94.043      94.390          94.737       95.085     95.432    95.780
                            50         96.127      96.494      96.862      97.229      97.597      97.964      98.332      98.699          99.066       99.434     99.801   100.169

                            51        100.536     100.926     101.315     101.705     102.094     102.484     102.873     103.263        103.652       104.042    104.431   104.821
                            52        105.210     105.624     106.037     106.451     106.864     107.278     107.692     108.105        108.519       108.932    109.346   109.759
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                            53        110.173     110.613     111.053     111.493     111.932     112.372     112.812     113.252         113.692      114.132    114.571   115.011
                            54        115.451     115.919     116.388     116.856     117.324     117.793     118.261     118.729         119.198      119.666    120.134   120.603
                            55        121.071     121.570     122.070     122.569     123.068     123.567     124.067     124.566        125.065       125.564    126.064   126.563
                            56        127.062     127.595     128.129     128.662     129.195     129.729     130.262     130.795        131.329       131.862    132.395   132.929
                            57        133.462     134.033     134.605     135.176     135.747     136.319     136.890     137.461        138.033       138.604    139.175   139.747
                            58        140.318     140.932     141.546     142.159     142.773     143.387     144.001     144.614        145.228       145.842    146.456   147.069
                            59        147.683
1V11NOUNO0
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                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY          n1=         7
                                                                                                                                                                        n2=         8
                                   APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                   EITHER: INT=       4.50%    OR: INT=         7.50%
                                   PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                            k2=      1.0400         k2=         1.0750
                                                                                                                                            k3=      1.0400         k3=         1.0750
                                         58 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       **dr*

                         SPOUSE
                          AGE AT                                                                   NEAREST MONTH
                       CASHOUT                 0          1            2           3           4        5        6                7               8              9       10        11
                         YEARS


                              24         35.398       35.520      35.641      35.763      35.884      36.006      36.128      36.249          36.371       36.492     36.614    36.735
                              25         36.857       36.983      37.110      37.236      37.363      37.489      37.616      37.742          37.868       37.995     38.121    38.248
                              26         38.374       38.506      38.637      38.769      38.901      39.032      39.164      39.296          39.427       39.559     39.691    39.822
                              27         39.954       40.091      40.228      40.365      40.502      40.639      40.776      40.912          41.049       41.186     41.323    41.460
                              28         41.597      41.739       41.882      42.024      42.167      42.309      42.452      42.594          42.736       42.879     43.021    43.164
                             29          43.306      43.454       43.603      43.751      43.900      44.048      44.197      44.345          44.493       44.642     44.790    44.939
                             30          45.087      45.242       45.396      45.551      45.706      45.860      46.015      46.170          46.324       46.479     46.634    46.788

                             31          46.943      47.104       47.265      47.427      47.588      47.749      47.910      48.071          48.232       48.394     48.555    48.716
                             32          48.877      49.045       49.213      49.381      49.548      49.716      49.884      50.052          50.220       50.388     50.555    50.723
                             33          50.891      51.068       51.241      51.416      51.591      51.766      51.941      52.116          52.291       52.466     52.641    52.816
                             34          52.991      53.174       53.356      53.539      53.721      53.904      54.087      54.269          54.452       54.634     54.817    54.999
                             35          55.182      55.373       55.563      55.754      55.945      56.135      56.326      56.517          56.707       56.898     57.089    57.279
                             36          57.470      57.669       57.868      58.067      58.266      58.465      58.665      58.864          59.063       59.262     59.461    59.660
                             37          59.859      60.067       60.275      60.483      60.691      60.899      61.108      61.316          61.524       61.732     61.940    62.148
                             38          62.356      62.574       62.791      63.009      63.226      63.444      63.662      63.879          64.097       64.314     64.532    64.749
                             39          64.967      65.195       65.422      65.650      65.877      66.105      66.332      66.560          66.787       67.015     67.242    67.470
                             40          67.697      67.935       68.173      68.412      68.650      68.888      69.126      69.364          69.602       69.841     70.079    70.317

                             41          70.555      70.804      71.054       71.303      71.553      71.802      72.052      72.301          72.550       72.800     73.049    73.299
                             42          73.548      73.810      74.071       74.333      74.594      74.856      75.117      75.379          75.640       75.902     76.163    76.425
                             43          76.686      76.960      77.235       77.509      77.784      78.058      78.333      78.607          78.881       79.156     79.430    79.705
                             44          79.979      80.267      80.555       80.844      81.132      81.420      81.708      81.996          82.284       82.573     82.861    83.149
                             45          83.437      83.740      84.043       84.346      84.648      84.951      85.254      85.557          85.860       86.163     86.465    86.768
                             46          87.071      87.390      87.709       88.027      88.346      88.665      88.984      89.302          89.621       89.940     90.259    90.577
                             47          90.896      91.232      91.568       91.904      92.240      92.576      92.913      93.249          93.585       93.921     94.257    94.593
                             48          94.929      95.284      95.639       95.993      96.348      96.703      97.058      97.412          97.767       98.122     98.477    98.831
                             49          99.186      99.561      99.936      100.310     100.685     101.060     101.435     101.809         102.184      102.559    102.934   103.308
                             50         103.683     104.079     104.476      104.872     105.268     105.665     106.061     106.457         106.854      107.250    107.646   108.043

                             51         108.439     108.859     109.279      109.699     110.119     110.539     110.960     111.380         111.800      112.220    112.640   113.060
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                             52         113.480     113.926     114.372     114.818      115.264     115.710     116.157     116.603        117.049       117.495    117.941   118.387
                             53         118.833     119.307     119.782     120.256      120.731     121.205     121.680     122.154        122.628       123.103    123.577   124.052
                             54         124.526     125.031     125.536     126.042      126.547     127.052     127.557     128.062        128.567       129.073    129.578   130.083
                             55         130.588     131.126     131.665     132.203      132.742     133.280     133.819     134.357        134.895       135.434    135.972   136.511
                             56         137.049     137.624     138.200     138.775      139.350     139.926     140.501     141.076        141.652       142.227    142.802   143.378
                             57         143.953     144.569     145.185     145.802      146.418     147.034     147.650     148.266        148.882       149.499    150.115   150.731
                             58         151.347
1V11NOUNO0
                                                    Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 24 of 56


                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                      n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400         k1 =        1.0750
                                                                                                                                          k2=      1.0400         k2=         1.0750
                                                                                                                                          k3 =     1.0400         k3=         1.0750
                                       57 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT               0           1            2           3           4            5        6            7               8              9       10        11
                         YEARS


                            23         36.599       36.725      36.851      36.976      37.102         37.228    37.354     37.479          37.605       37.731     37.857    37.982
                            24         38.108       38.239      38.370      38.501      38.631         38.762    38.893     39.024          39.155       39.286     39.416    39.547
                            25         39.678       39.814      39.950      40.086      40.222         40.358    40.495     40.631          40.767       40.903     41.039    41.175
                            26         41.311       41.453      41.594      41.736      41.878         42.019    42.161     42.303          42.444       42.586     42.728    42.869
                            27         43.011       43.158      43.306      43.453      43.601         43.748    43.896     44.043          44.190       44.338     44.485    44.633
                            28         44.780       44.933      45.087      45.240      45.394         45.547    45.701     45.854          46.007       46.161     46.314    46.468
                            29         46.621      46.781       46.941      47.100      47.260         47.420    47.580     47.739          47.899       48.059     48.219    48.378
                            30         48.538      48.705       48.871      49.038      49.204         49.371    49.537     49.704          49.870       50.037     50.203    50.370

                            31         50.536      50.709       50.883      51.056      51.230         51.403    51.577     51.750          51.923       52.097     52.270    52.444
                            32         52.617      52.798       52.979      53.159      53.340         53.521    53.702     53.882          54.063       54.244     54.425    54.605
                            33         54.786      54.974       55.163      55.351      55.540         55.728    55.917     56.105          56.293       56.482     56.670    56.859
                            34         57.047      57.244       57.440      57.637      57.833         58.030    58.227     58.423          58.620       58.816     59.013    59.209
                            35         59.406      59.611       59.816      60.022      60.227         60.432    60.637     60.842          61.047       61.253     61.458    61.663
                            36         61.868      62.082       62.297      62.511      62.726         62.940    63.155     63.369          63.583       63.798     64.012    64.227
                            37         64.441      64.665      64.889       65.113      65.337         65.561    65.785     66.009          66.233       66.457     66.681    66.905
                            38         67.129      67.363      67.597       67.832      68.066         68.300    68.534     68.768          69.002       69.237     69.471    69.705
                            39         69.939      70.184      70.429       70.674      70.919         71.164    71.409     71.654          71.899       72.144     72.389    72.634
                            40         72.879      73.135      73.392       73.648      73.904         74.161    74.417     74.673          74.930       75.186     75.442    75.699

                            41         75.955      76.224      76.492       76.761      77.029         77.298    77.567     77.835          78.104       78.372     78.641    78.909
                            42         79.178      79.460      79.741       80.023      80.304         80.586    80.867     81.149          81.430       81.712     81.993    82.275
                            43         82.556      82.851      83.147       83.442      83.737         84.033    84.328     84.623          84.919       85.214     85.509    85.805
                            44         86.100      86.410      86.721       87.031      87.341   •     87.651    87.962     88.272          88.582       88.892     89.203    89.513
                            45         89.823      90.149      90.475       90.801      91.127         91.453    91.779     92.105          92.431       92.757     93.083    93.409
                            46         93.735      94.078      94.421       94.765      95.108         95.451    95.794     96.137          96.480       96.824     97.167    97.510
                            47         97.853      98.215      98.577       98.939      99.300         99.662   100.024    100.386         100.748      101.110    101.471   101.833
                            48        102.195     102.577     102.959      103.341     103.722        104.104   104.486    104.868         105.250      105.632    106.013   106.395
                            49        106.777     107.180     107.584      107.987     108.391        108.794   109.198    109.601         110.004      110.408    110.811   111.215
                            50        111.618     112.045     112.471      112.898     113.325        113.751   114.178    114.605         115.031      115.458    115.885   116.311
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                            51        116.738     117.190     117.643      118.095     118.547        118.999   119.452    119.904         120.356      120.808    121.261   121.713
                            52        122.165     122.645     123.126      123.606     124.086        124.566   125.047    125.527         126.007      126.487    126.968   127.448
                            53        127.928     128.439     128.949      129.460     129.971        130.481   130.992    131.503         132.013      132.524    133.035   133.545
                            54        134.056     134.600     135.144      135.688     136.231        136.775   137.319    137.863         138.407      138.951    139.494   140.038
                            55        140.582     141.162     141.741      142.321     142.901        143.480   144.060    144.640         145.219      145.799    146.379   146.958
                            56        147.538     148.157     148.777      149.396     150.015        150.635   151.254    151.873         152.493      153.112    153.731   154.351
                            57        154.970
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY          n1=         7
                                                                                                                                                                      n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=          7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                          k2=      1.0400         k2=         1.0750
                                      ****
                                                                                                                                          k3=      1.0400         k3=         1.0750
                                       56 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                        AGE AT                                                                   NEAREST MONTH
                      CASHOUT               0           1            2           3           4        5        6                7               8              9       10        11
                         YEARS

                            22         37.770       37.900      38.030      38.160      38.290      38.420      38.550      38.679          38.809       38.939     39.069    39.199
                            23         39.329       39.464      39.599      39.734      39.869      40.004      40.140      40.275          40.410       40.545     40.680    40.815
                            24         40.950       41.091      41.231      41.372      41.512      41.653      41.794      41.934          42.075       42.215     42.356    42.496
                            25         42.637       42.783      42.930      43.076      43.222      43.369      43.515      43.661          43.808       43.954     44.100    44.247
                            26         44.393       44.545      44.698      44.850      45.002      45.154      45.307      45.459          45.611       45.763     45.916    46.068
                            27         46.220       46.378      46.537      46.695      46.854      47.012      47.171      47.329          47.487       47.646     47.804    47.963
                            28         48.121       48.286      48.451      48.615      48.780      48.945      49.110      49.274          49.439       49.604     49.769    49.933
                            29         50.098       50.270      50.442      50.613      50.785      50.957      51.129      51.300          51.472       51.644     51.816    51.987
                            30         52.159       52.338      52.517      52.696      52.875      53.054      53.233      53.411          53.590       53.769     53.948    54.127

                            31         54.306      54.492       54.679      54.865      55.051      55.238      55.424      55.610          55.797       55.983     56.169    56.356
                            32         56.542      56.736       56.931      57.125      57.319      57.513      57.708      57.902          58.096       58.290     58.485    58.679
                            33         58.873      59.075       59.278      59.480      59.683      59.885      60.088      60.290          60.492       60.695     60.897    61.100
                            34         61.302      61.513       61.725      61.936      62.147      62.358      62.570      62.781          62.992       63.203     63.415    63.626
                            35         63.837      64.058       64.278      64.499      64.719      64.940      65.160      65.381          65.601       65.822     66.042    66.263
                            36         66.483      66.713       66.944      67.174      67.404      67.635      67.865      68.095          68.326       68.556     68.786    69.017
                            37         69.247      69.488       69.729      69.969      70.210      70.451      70.692      70.932          71.173       71.414     71.655    71.895
                            38         72.136      72.388      72.639       72.891      73.143      73.394      73.646      73.898          74.149       74.401     74.653    74.904
                            39         75.156      75.419      75.683       75.946      76.209      76.472      76.736      76.999          77.262       77.525     77.789    78.052
                            40         78.315      78.591      78.866       79.142      79.417      79.693      79.968      80.244          80.519       80.795     81.070    81.346

                            41         81.621      81.910      82.198       82.487      82.775      83.064      83.353      83.641          83.930       84.218     84.507    84.795
                            42         85.084      85.387      85.689       85.992      86.294      86.597      86.899      87.202          87.504       87.807     88.109    88.412
                            43         88.714      89.031      89.349       89.666      89.984      90.301      90.619      90.936          91.253       91.571     91.888    92.206
                            44         92.523      92.856      93.190       93.523      93.856      94.190      94.523      94.856          95.190       95.523     95.856    96.190
                            45         96.523      96.873      97.224       97.574      97.924      98.275      98.625      98.975          99.326       99.676    100.026   100.377
                            46        100.727     101.096     101.465      101.833     102.202     102.571     102.940     103.308         103.677      104.046    104.415   104.783
                            47        105.152     105.541     105.930      106.319     106.707     107.096     107.485     107.874         108.263      108.652    109.040   109.429
                            48        109.818     110.228     110.639      111.049     111.459     111.870     112.280     112.690         113.101      113.511    113.921   114.332
                            49        114.742     115.176     115.609      116.043     116.476     116.910     117.343     117.777         118.210      118.644    119.077   119.511
                            50        119.944     120.403     120.861      121.320     121.778     122.237     122.695     123.154         123.612      124.071    124.529   124.988
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                            51        125.446     125.932     126.418      126.904     127.390     127.876     128.362     128.847         129.333      129.819    130.305   130.791
                            52        131.277     131.793     132.309      132.825     133.341     133.857     134.374     134.890         135.406      135.922    136.438   136.954
                            53        137.470     138.019     138.568      139.117     139.665     140.214     140.763     141.312         141.861      142.410    142.958   143.507
                            54        144.056     144.640     145.225      145.809     146.394     146.978     147.563     148.147         148.731      149.316    149.900   150.485
                            55        151.069     151.692     152.315      152.938     153.561     154.184     154.807     155.429         156.052      156.675    157.298   157.921
                            56        158.544
1V11NOHNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY           n1=          7
                                                                                                                                                                        n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                          GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=          7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                         k1=      1.0400         k1 =         1.0750
                                                                                                                                           k2=      1.0400         k2=          1.0750
                                      • iif
                                                                                                                                           k3=      1.0400         k3=          1.0750
                                        55 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT

                       SPOUSE
                        AGE AT                                                                   NEAREST MONTH
                      CASHOUT               0            1           2           3           4        5        6                  7               8             9        10        11
                        YEARS


                            21         38.911       39.045      39.179      39.313      39.447      39.581       39.715      39.849          39.983       40.117     40.251     40.385
                            22         40.519       40.658      40.798      40.937      41.076      41.216       41.355      41.494          41 .634      41.773     41 .912    42.052
                            23         42.191       42.336      42.481      42.626      42.771      42.916       43.061      43.205          43.350       43.495     43.640     43.785
                            24         43.930       44.081      44.232      44.383      44.533      44.684       44.835      44.986          45.137       45.288     45.438     45.589
                            25         45.740       45.897      46.054      46.211      46.368      46.525       46.682      46.838          46.995       47.152     47.309     47.466
                            26         47.623       47.786      47.950      48.113      48.276      48.440       48.603      48.766          48.930       49.093     49.256     49.420
                            27         49.583       49.753      49.923      50.093      50.263      50.433       50.603      50.772          50.942       51.112     51.282     51.452
                            28         51.622       51.799      51.976      52.153      52.329      52.506      52.683       52.860          53.037       53.214     53.390     53.567
                            29         53.744       53.928      54.112      54.297      54.481      54.665      54.849       55.033          55.217       55.402     55.586     55.770
                            30         55.954       56.146      56.338      56.530      56.722      56.914       57.106      57.297          57.489       57.681     57.873     58.065

                            31         58.257      58.457       58.657      58.857      59.057      59.257      59.457       59.657          59.857       60.057     60.257     60.457
                            32         60.657      60.865       61.074      61.282      61.490      61.699      61.907       62.115          62.324       62.532     62.740     62.949
                            33         63.157       63.374      63.591      63.809      64.026      64.243      64.460       64.677          64.894       65.112     65.329     65.546
                            34         65.763       65.990      66.216      66.443      66.669      66.896      67.123       67.349          67.576       67.802     68.029     68.255
                            35         68.482      68.719       68.955      69.192      69.428      69.665      69.902       70.138         70.375        70.611     70.848     71.084
                            36         71.321      71.568       71.815      72.062      72.309      72.556      72.804       73.051         73.298        73.545     73.792     74.039
                            37         74.286      74.544       74.803      75.061      75.319      75.577      75.836       76.094         76.352        76.610     76.869     77.127
                            38         77.385      77.655       77.925      78.195      78.465      78.735      79.005       79.275         79.545        79.815     80.085     80.355
                            39         80.625      80.907       81.190      81.472      81.754      82.037      82.319       82.601          82.884       83.166     83.448     83.731
                            40         84.013      84.309       84.604      84.900      85.195      85.491      85.787       86.082          86.378       86.673     86.969     87.264

                            41         87.560      87.870       88.179      88.489      88.798      89.108      89.418       89.727         90.037        90.346     90.656     90.965
                            42         91.275      91.600       91.924      92.249      92.573      92.898      93.222       93.547         93.871        94.196     94.520     94.845
                            43         95.169      95.510       95.850      96.191      96.531      96.872      97.213       97.553         97.894        98.234     98.575     98.915
                            44         99.256      99.614       99.971     100.329     100.686     101.044     101.401      101.759        102.116       102.474    102.831    103.189
                            45        103.546     103.922      104.298     104.674     105.050     105.426     105.802      106.177        106.553       106.929    107.305    107.681
                            46        108.057     108.453      108.848     109.244     109.639     110.035     110.431      110.826        111.222       111.617    112.013    112.408
                            47        112.804     113.221      113.638     114.055     114.472     114.889     115.307      115.724        116.141       116.558    116.975    117.392
                            48        117.809     118.249      118.689     119.130     119.570     120.010     120.450      120.890        121.330       121.771    122.211    122.651
                            49        123.091     123.556      124.021     124.486     124.951     125.416     125.882      126.347        126.812       127.277    127.742    128.207
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                            50        128.672     129.164      129.656     130.148     130.639     131.131     131.623      132.115        132.607       133.099    133.590    134.082

                           51         134.574     135.095     135.617      136.138     136.659     137.181     137.702      138.223        138.745       139.266    139.787    140.309
                           52         140.830     141.384     141.937      142.491     143.045     143.598     144.152      144.706        145.259       145.813    146.367    146.920
                           53         147.474     148.063     148.651      149.240     149.829     150.417     151.006      151.595        152.183       152.772    153.361    153.949
                           54         154.538     155.165     155.792      156.419     157.046     157.673     158.300      158.926        159.553       160.180    160.807    161.434
                           55         162.061
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY          n1=         7
                                                                                                                                                                     n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       54 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      sr***
                        SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0           1           2           3           4        5        6                7               8              9       10        11
                        YEARS



                            21         41.676      41.820      41.963      42.107      42.250       42.394     42.537      42.681          42.824       42.968     43.111    43.255
                            22         43.398      43.547      43.697      43.846      43.995       44.144     44.294      44.443          44.592       44.741     44.891    45.040
                            23         45.189      45.344      45.499      45.655      45.810       45.965     46.120      46.275          46.430       46.586     46.741    46.896
                            24         47.051      47.213      47.374      47.536      47.697       47.859     48.021      48.182          48.344       48.505     48.667    48.828
                            25         48.990      49.158      49.326      49.494      49.662       49.830     49.999      50.167          50.335       50.503     50.671    50.839
                            26         51.007      51.182      51.357      51.532      51.707       51.882     52.057      52.231          52.406       52.581     52.756    52.931
                            27         53.108      53.288      53.470      53.652      53.834       54.016     54.198      54.380          54.562       54.744     54.926    55.108
                            28         55.290      55.479      55.669      55.858      56.048       56.237     56.427      56.616          56.805       56.995     57.184    57.374
                            29         57.563      57.760      57.958      58.155      58.352       58.549     58.747      58.944          59.141       59.338     59.536    59.733
                            30         59.930      60.136      60.341      60.547      60.752       60.958     61.163      61.369          61.574       61.780     61.985    62.191

                            31         62.396      62.610      62.824      63.039      63.253       63.467     63.681      63.895          64.109       64.324     64.538    64.752
                            32         64.966      65.189      65.412      65.636      65.859       66.082     66.305      66.528          66.751       66.975     67.198    67.421
                            33         67.644      67.877      68.109      68.342      68.574       68.807     69.040      69.272          69.505       69.737     69.970    70.202
                            34         70.435      70.678      70.921      71.163      71.406       71.649     71.892      72.134          72.377       72.620     72.863    73.105
                            35         73.348      73.601      73.855      74.108      74.362       74.615     74.869      75.122          75.375       75.629     75.882    76.136
                            36         76.389      76.654      76.918      77.183      77.447       77.712     77.977      78.241          78.506       78.770     79.035    79.299
                            37         79.564      79.841      80.117      80.394      80.670       80.947     81.224      81.500          81.777       82.053     82.330    82.606
                            38         82.883      83.172      83.461      83.751      84.040       84.329     84.618      84.907          85.196       85.486     85.775    86.064
                            39         86.353      86.656      86.958      87.261      87.563       87.866     88.168      88.471          88.773       89.076     89.378    89.681
                            40         89.983      90.300      90.616      90.933      91.249       91.566     91.882      92.199          92.515       92.832     93.148    93.465

                            41         93.781      94.113      94.444      94.776      95.107       95.439     95.771      96.102          96.434       96.765     97.097    97.428
                            42         97.760      98.108      98.455      98.803      99.150       99.498     99.846     100.193         100.541      100.888    101.236   101.583
                            43        101.931     102.296     102.661     103.025     103.390      103.755    104.120     104.484         104.849      105.214    105.579   105.943
                            44        106.308     106.691     107.074     107.457     107.840      108.223    108.606     108.988         109.371      109.754    110.137   110.520
                            45        110.903     111.306     111.708     112.111     112.513      112.916    113.319     113.721         114.124      114.526    114.929   115.331
                            46        115.734     116.158     116.582     117.005     117.429      117.853    118.277     118.700         119.124      119.548    119.972   120.395
                            47        120.819     121.266     121.712     122.159     122.606      123.052    123.499     123.946         124.392      124.839    125.286   125.732
                            48        126.179     126.651     127.122     127.594     128.065      128.537    129.008     129.480         129.951      130.423    130.894   131.366
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                            49        131.837     132.335     132.833     133.331     133.829      134.327    134.826     135.324         135.822      136.320    136.818   137.316
                            50        137.814     138.341     138.868     139.395     139.921      140.448    140.975     141.502         142.029      142.556    143.082   143.609

                            51        144.138     144.694     145.253     145.811     146.369      146.928    147.486     148.044         148.603      149.161    149.719   150.278
                            52        150.836     151.429     152.022     152.615     153.208      153.801    154.394     154.987         155.580      156.173    156.766   157.359
                            53        157.952     158.583     159.213     159.844     160.474      161.105    161.736     162.366         162.997      163.627    164.258   164.888
                            54        165.519
1V11NOHNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY            n1 =         7
                                                                                                                                                                       n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                             GREATER FACTOR PRODUCED FROM
                                                                                                                                EITHER: INT=             4.50%     OR: INT=     7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                       k1 =           1.0400          k1=    1.0750
                                                                                                                                         k2=            1.0400          k2=    1.0750
                                                                                                                                         k3=            1.0400          k3=    1.0750
                                       53 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ....
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                0            1            2            3           4         5        6            7              8              9         10        11
                        YEARS



                            21          44.570       44.723       44.877       45.030       45.184     45.337    45.491    45.644         45.797        45.951       46.104    46.258
                            22          46.411       46.571       46.730       46.890       47.050     47.209    47.369    47.529         47.688        47.848       48.008    48.167
                            23          48.327       48.493       48.659       48.825       48.991     49.157    49.323    49.488         49.654        49.820       49.986    50.152
                            24          50.318       50.491       50.664       50.836      51.009      51.182    51.355    51.527         51.700        51.873       52.046    52.218
                            25          52.391       52.571       52.751       52.931      53.110      53.290    53.470    53.650         53.830        54.010       54.189    54.369
                            26          54.549       54.736       54.923       55.110      55.297      55.484    55.671    55.858         56.045        56.232       56.419    56.606
                            27          56.793       58.988       57.182       57.377      57.572      57.766    57.961    58.156         58.350        58.545       58.740    58.934
                            28          59.129       59.332       59.534       59.737      59.939      60.142    60.344    60.547         60.749        60.952       61.154    61.357
                            29          61.559       61.770       61.981       62.192       62.403     62.614    62.825    63.036         63.247        63.458       63.669    63.880
                            30          64.091       64.311       64.531       64.751      64.970      65.190    65.410    65.630         65.850        66.070       66.289    66.509

                            31          66.729       66.958       67.187       67.416      67.645      67.874    68.104    68.333         68.562        68.791       69.020    69.249
                            32          69.478       69.717       69.955       70.194      70.432      70.671    70.910    71.148         71.387        71.625       71.864    72.102
                            33          72.341       72.590       72.839       73.087      73.336      73.585    73.834    74.082         74.331        74.580       74.829    75.077
                            34          75.326       75.586       75.845       76.105      76.364      76.624    76.884    77.143         77.403        77.662       77.922    78.181
                            35          78.441       78.712       78.983       79.254      79.525      79.796    80.067    80.338         80.609        80.880       81.151    81.422
                            36          81.693       81.976       82.259       82.542      82.825      83.108    83.391    83.674         83.957        84.240       84.523    84.806
                            37          85.089       85.385       85.681       85.976      86.272      86.568    86.864    87.159         87.455        87.751       88.047    88.342
                            38          88.638       88.947       89.257       89.566      89.875      90.184    90.494    90.803          91.112       91.421       91.731    92.040
                            39          92.349       92.673       92.996      93.320       93.643      93.967    94.290    94.614         94.937        95.261       95.584    95.908
                            40          96.231       96.570       96.908      97.247       97.585      97.924    98.262    98.601         98.939        99.278       99.616    99.955

                            41        100.293       100.648      101.002     101.357      101.711     102.066   102.421   102.775        103.130       103.484      103.839   104.193
                            42        104.548       104.920      105.292     105.663      106.035     106.407   106.779   107.150        107.522       107.894      108.266   108.637
                            43        109.009       109.399      109.789     110.179      110.569     110.959   111.349   111.739        112.129       112.519      112.909   113.299
                            44        113.689       114.099      114.508     114.918      115.327     115.737   116.147   116.556        116.966       117.375      117.785   118.194
                            45        118.604       119.035     119.465      119.896      120.326     120.757   121.187   121.618        122.048       122.479      122.909   123.340
                           46         123.770      124.223      124.676      125.130      125.583     126.036   126.489   126.942        127.395       127.849      128.302   128.755
                           47         129.208      129.886      130.164      130.641      131.119     131.597   132.075   132.552        133.030       133.508      133.986   134.463
                           48         134.941      135.445      135.950      136.454      136.958     137.462   137.967   138.471        138.975       139.479      139.984   140.488
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                            49        140.992      141.525      142.057      142.590      143.122     143.655   144.188   144.720        145.253       145.785      146.318   146.850
                            50        147.383      147.946      148.510      149.073      149.637     150.200   150.764   151.327        151.890       152.454      153.017   153.581

                           51         154.144      154.741      155.338      155.936      156.533     157.130   157.727   158.324        158.921       159.519      160.116   160.713
                           52         161.310      161.944      162.578      163.213      163.847     164.481   165.115   165.749        166.383       167.018      167.652   168.286
                           53         168.920
1V11NOUNO0
                                                      Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 29 of 56


                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                               BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                         n2=         8
                                   APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                          GREATER FACTOR PRODUCED FROM
                                                                                                                                    EITHER: INT=      4.50%     OR: INT=         7.50%
                                   PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                         k1 =     1.0400         k1=         1.0750
                                                                                                                                             k2=      1.0400         k2=         1.0750
                                        • arr
                                                                                                                                             k3=      1.0400         k3 =        1.0750
                                          52 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                        ****
                         SPOUSE
                          AGE AT                                                                   NEAREST MONTH
                       CASHOUT                0            1           2           3           4        5        6                 7               8              9       10        11
                         YEARS



                              21         47.597       47.761      47.925      48.089      48.252       48.416      48.580      48.744          48.908       49.072     49.235    49.399
                              22         49.563       49.734      49.904      50.075      50.245       50.416      50.586      50.757          50.927       51.098     51.268    51.439
                              23         51.609       51.786      51.964      52.141      52.318       52.495      52.673      52.850          53.027       53.204     53.382    53.559
                              24         53.736       53.920      54.105      54.289      54.474       54.658      54.843      55.027          55.211       55.396     55.580    55.765
                              25         55.949       56.141      56.333      56.525      56.717       56.909      57.101      57.293          57.485       57.677     57.869    58.061
                              26         58.253       58.453      58.653      58.853      59.052       59.252      59.452      59.652          59.852       60.052     60.251    60.451
                              27         60.651       60.859      61.067      61.275      61.482       61.690      61.898      62.106          62.314       62.522     62.729    62.937
                              28         63.145       63.361      63.578      63.794      64.010       64.226      64.443      64.659          64.875       65.091     65.308    65.524
                              29         65.740       65.965      66.191      66.416      66.641       66.867      67.092      67.317          67.543       67.768     67.993    68.219
                             30          68.444       68.679      68.914      69.148      69.383       69.618      69.853      70.087          70.322       70.557     70.792    71.026

                             31          71.261       71.506      71.750      71.995      72.239       72.484      72.729      72.973          73.218       73.462     73.707    73.951
                             32          74.196       74.451      74.706      74.961      75.215       75.470      75.725      75.980          76.235       76.490     76.744    76.999
                             33          77.254       77.520      77.785      78.051      78.317       78.582      78.848      79.114          79.379       79.645     79.911    80.176
                             34          80.442       80.719      80.996      81.274      81.551       81.828      82.105      82.382          82.659       82.937     83.214    83.491
                             35          83.768       84.057      84.347      84.636      84.926       85.215      85.505      85.794          86.083       86.373     86.662    86.952
                             36          87.241       87.543      87.846      88.148      88.450       88.752      89.055      89.357          89.659       89.961     90.264    90.566
                             37          90.868       91.184      91.500      91.816      92.131       92.447      92.763      93.079          93.395       93.711     94.026    94.342
                             38          94.658       94.988      95.319      95.649      95.979       96.309      96.640      96.970          97.300       97.630     97.961    98.291
                             39          98.621       98.966      99.312      99.657     100.003      100.348     100.694     101.039         101.384      101.730    102.075   102.421
                             40         102.766      103.128     103.489     103.851     104.212      104.574     104.936     105.297         105.659      106.020    106.382   106.743

                             41         107.105      107.484     107.862     108.241     108.620      108.998     109.377     109.756         110.134      110.513    110.892   111.270
                             42         111.649      112.046     112.443     112.840     113.237      113.634     114.031     114.427         114.824      115.221    115.618   116.015
                             43         116.412      116.829     117.245     117.662     118.078      118.495     118.912     119.328         119.745      120.161    120.578   120.994
                             44         121.411      121.848     122.286     122.723     123.160      123.598     124.035     124.472         124.910      125.347    125.784   126.222
                             45         126.659      127.119     127.579     128.038     128.498      128.958     129.418     129.877         130.337      130.797    131.257   131.716
                             46         132.176      132.660     133.144     133.628     134.112     134.596      135.080     135.563         136.047      136.531    137.015   137.499
                             47         137.983      138.493     139.003     139.514     140.024     140.534      141.044     141.554         142.064      142.575    143.085   143.595
                             48         144.105      144.644     145.182     145.721     146.259     146.798      147.336     147.875         148.413      148.952    149.490   150.029
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                             49         150.567      151.136     151.705     152.274     152.842      153.411     153.980     154.549         155.118      155.687    156.255   156.824
                             50         157.393      157.995     158.596     159.198     159.800      160.401     161.003     161.605         162.206      162.808    163.410   164.011

                             51         164.613      165.251     165.888     166.526     167.164     167.801      168.439     169.077         169.714      170.352    170.990   171.627
                             52         172.265
1V11NOUNO0
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                     n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR:    INT=      7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400            k1 =    1.0750
                                                                                                                                          k2=      1.0400            k2=     1.0750
                                                                                                                                          k3=      1.0400            k3=     1.0750
                                       51 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASH OUT              0           1           2           3           4        5        6                7               8              9       10        11
                         YEARS



                            21         50.761      50.936      51.111      51.285      51.460      51.635      51.810      51.984          52.159       52.334     52.509    52.683
                            22         52.858      53.040      53.222      53.403      53.585      53.767      53.949      54.130          54.312       54.494     54.676    54.857
                            23         55.039      55.228      55.417      55.606      55.795      55.984      56.174      56.363          56.552       56.741     56.930    57.119
                            24         57.308      57.505      57.702      57.898      58.095      58.292      58.489      58.685          58.882       59.079     59.276    59.472
                            25         59.669      59.874      60.079      60.283      60.488      60.693      60.898      61.102          61.307       61.512     61.717    61.921
                            26         62.126      62.339      62.552      62.765      62.978      63.191      63.404      63.617          63.830       64.043     64.256    64.469
                            27         64.682      64.904      65.126      65.347      65.569      65.791      66.013      66.234          66.456       66.678     66.900    67.121
                            28         67.343      67.574      67.804      68.035      68.265      68.496      68.727      68.957          69.188       69.418     69.649    69.879
                            29         70.110      70.350      70.591      70.831      71.071      71.312      71.552      71.792          72.033       72.273     72.513    72.754
                            30         72.994      73.244      73.495      73.745      73.995      74.246      74.496      74.746          74.997       75.247     75.497    75.748

                            31         75.998      76.259      76.520      76.781      77.041      77.302      77.563      77.824          78.085       78.346     78.606    78.867
                            32         79.128      79.400      79.672      79.944      80.215      80.487      80.759      81.031          81.303       81.575     81.846    82.118
                            33         82.390      82.673      82.957      83.240      83.523      83.806      84.090      84.373          84.656       84.939     85.223    85.506
                            34         85.789      86.085      86.380      86.676      86.972      87.267      87.563      87.859          88.154       88.450     88.746    89.041
                            35         89.337      89.646      89.954      90.263      90.571      90.880      91.189      91.497          91.806       92.114     92.423    92.731
                            36         93.040      93.362      93.685      94.007      94.330      94.652      94.975      95.297          95.619       95.942     96.264    96.587
                            37         96.909      97.246      97.583      97.920      98.256      98.593      98.930      99.267          99.604       99.941    100.277   100.614
                            38        100.951     101.303     101.655     102.008     102.360     102.712     103.064     103.416         103.768      104.121    104.473   104.825
                            39        105.177     105.545     105.914     106.282     106.651     107.019     107.388     107.756         108.124      108.493    108.861   109.230
                            40        109.598     109.984     110.369     110.755     111.140     111.526     111.912     112.297         112.683      113.068    113.454   113.839

                            41        114.225     114.629     115.033     115.437     115.840     116.244     116.648     117.052         117.456      117.860    118.263   118.667
                            42        119.071     119.494     119.918     120.341     120.764     121.188     121.611     122.034         122.458      122.881    123.304   123.728
                            43        124.151     124.595     125.040     125.484     125.928     126.372     126.817     127.261         127.705      128.149    128.594   129.038
                            44        129.482     129.948     130.415     130.881     131.348     131.814     132.281     132.747         133.213      133.680    134.146   134.613
                            45        135.079     135.569     136.060     136.550     137.040     137.531     138.021     138.511         139.002      139.492    139.982   140.473
                            46        140.963     141.479     141.995     142.511     143.027     143.543     144.060     144.576         145.092      145.608    146.124   146.640
                            47        147.156     147.700     148.244     148.788     149.332     149.876     150.421     150.965         151.509      152.053    152.597   153.141
                            48        153.685     154.259     154.834     155.408     155.982     156.556     157.131     157.705         158.279      158.853    159.428   160.002
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                            49        160.576     161.183     161.789     162.396     163.003     163.609     164.216     164.823         165.429      166.036    166.643   167.249
                            50        167.856     168.498     169.139     169.781     170.423     171.064     171.706     172.348         172.989      173.631    174.273   174.914

                            51        175.556
1V11NOUNO0
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                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                      BASIS: UP1984 MORTALITY             n1 =         7
                                                                                                                                                                          n2=          8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                              GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=              4.50%     OR: INT=     7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1 =            1.0400          k1 =    1.0750
                                                                                                                                          k2=             1.0400          k2=     1.0750
                                                                                                                                          k3=             1.0400          k3=     1.0750
                                        50 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       •ra•
                        SPOUSE
                         AGE AT                                                                       NEAREST MONTH
                       CASHOUT                0            1            2            3           4         5        6            7               8              9          10        11
                         YEARS



                             21          54.066       54.252       54.438       54.625      54.811      54.997    55.183    55.369           55.555       55.742       55.928     56.114
                             22          56.300       56.494       56.687       56.881      57.075      57.268    57.462    57.656           57.849       58.043       58.237     58.430
                             23          58.624       58.825       59.027       59.228      59.429      59.631    59.832    60.033           60.235       60.436       60.637     60.839
                             24          61.040       61.250       61.459       61.669       61.878     62.088    62.297    62.507           62.716       62.926       63.135     63.345
                             25          63.554       63.772       63.990       64.208      64.426      64.644    64.863    65.081           65.299       65.517       65.735     65.953
                             26          66.171       66.398       66.625       66.852      67.079      67.306    67.533    67.759           67.986       68.213       68.440     68.667
                             27          68.894       69.130       69.366       69.603      69.839      70.075    70.311    70.547          70.783        71.020       71.256     71.492
                             28          71.728       71.974      72.219        72.465      72.711      72.956    73.202    73.448          73.693        73.939       74.185     74.430
                             29          74.676       74.932      75.188       75.444       75.700      75.956    76.212    76.467           76.723       76.979       77.235     77.491
                             30          77.747       78.014      78.280       78.547       78.814      79.080    79.347    79.614           79.880       80.147       80.414     80.680

                             31          80.947       81.225      81.503       81.781       82.058      82.336    82.614    82.892          83.170        83.448       83.725     84.003
                             32          84.281       84.571      84.860       85.150       85.439      85.729    86.018    86.308          86.597        86.887       87.176     87.466
                             33          87.755       88.057       88.359       88.660      88.962      89.264    89.566    89.867          90.169        90.471       90.773     91.074
                             34         91.376        91.691      92.006       92.321       92.635      92.950    93.265    93.580          93.895        94.210       94.524     94.839
                             35         95.154        95.483      95.812       96.140       96.469      96.798    97.127    97.455          97.784        98.113       98.442     98.770
                             36         99.099        99.442      99.786      100.129      100.472     100.816   101.159   101.502         101.846       102.189      102.532    102.876
                             37        103.219       103.578     103.937      104.296      104.654     105.013   105.372   105.731         106.090       106.449      106.807    107.166
                             38        107.525       107.900     108.275      108.650      109.025     109.400   109.776   110.151         110.526       110.901      111.276    111.651
                             39        112.026       112.418     112.811      113.203      113.596     113.988   114.381   114.773         115.165       115.558      115.950    116.343
                             40        116.735      117.146      117.556      117.967      118.378     118.788   119.199   119.610         120.020       120.431      120.842    121.252

                             41        121.663      122.093      122.523      122.953      123.383     123.813   124.244   124.674         125.104       125.534      125.964    126.394
                             42        126.824      127.275      127.726      128.177      128.628     129.079   129.530   129.980         130.431       130.882      131.333    131.784
                             43        132.235      132.708      133.181      133.655      134.128     134.601   135.074   135.547         136.020       136.494      136.967    137.440
                             44        137.913      138.410      138.907      139.404      139.900     140.397   140.894   141 .391        141.888       142.385      142.881    143.378
                            45         143.875      144.397      144.920      145.442      145.964     146.486   147.009   147.531         148.053       148.575      149.098    149.620
                            46         150.142      150.692      151.241      151.791      152.341     152.890   153.440   153.990         154.539       155.089      155.639    156.188
                            47         156.738      157.318      157.897      158.477      159.056     159.636   160.215   160.795         161.374       161.954      162.533    163.113
                            48         163.692      164.304      164.916      165.527      166.139     166.751   167.363   167.974         168.586       169.198      169.810    170.421
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                            49         171.033      171.679      172.325      172.971      173.617     174.263   174.910   175.556         176.202       176.848      177.494    178.140
                            50         178.786
1V11NOUNO0
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                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                       n2=         8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=         7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                           k2=      1.0400         k2=         1.0750
                                                                                                                                           k3=      1.0400         k3 =        1.0750
                                        49 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       ****
                        SPOUSE
                         AGE AT                                                                   NEAREST MONTH
                       CASH OUT              0           1            2          3           4         5        6                7               8              9       10        11
                          YEARS



                             21         57.517       57.715      57.913      58.111      58.309      58.507      58.706      58.904          59.102       59.300     59.498    59.696
                             22         59.894       60.100      60.306      60.512      60.718      60.924      61.130      61.336          61.542       61.748     61.954    62.160
                             23         62.366       62.580      62.794      63.009      63.223      63.437      63.651      63.865          64.079       64.294     64.508    64.722
                             24         64.936       65.159      65.382      65.605      65.828      66.051      66.274      66.496          66.719       66.942     67.165    67.388
                             25         67.611       67.843      68.075      68.307      68.539      68.771      69.003      69.235          69.467       69.699     69.931    70.163
                             26         70.395       70.636      70.878      71.119      71.361      71.602      71.844      72.085          72.326       72.568     72.809    73.051
                             27         73.292       73.543      73.795      74.046      74.297      74.548      74.800      75.051          75.302       75.553     75.805    76.056
                             28         76.307       76.568      76.830      77.091      77.352      77.614      77.875      78.136          78.398       78.659     78.920    79.182
                             29         79.443       79.715      79.988      80.260      80.532      80.804      81.077      81.349          81.621       81.893     82.166    82.438
                             30         82.710       82.994      83.277      83.561      83.845      84.128      84.412      84.696          84.979       85.263     85.547    85.830

                             31         86.114       86.410      86.705      87.001      87.296      87.592      87.888      88.183          88.479       88.774     89.070    89.365
                             32         89.661       89.969      90.277      90.585      90.893      91.201      91.509      91.817          92.125       92.433     92.741    93.049
                             33         93.357       93.678      93.999      94.320      94.641      94.962      95.283      95.604          95.925       96.246     96.567    96.888
                             34         97.209       97.544      97.879      98.214      98.549      98.884      99.219      99.553          99.888      100.223    100.558   100.893
                             35        101.228      101.578     101.928     102.277     102.627     102.977     103.327     103.676         104.026      104.376    104.726   105.075
                             36        105.425      105.790     106.156     106.521     106.886     107.251     107.617     107.982         108.347      108.712    109.078   109.443
                             37        109.808      110.190     110.571     110.953     111.335     111.716     112.098     112.480         112.861      113.243    113.625   114.006
                             38        114.388      114.787     115.186     115.585     115.984     116.383     116.783     117.182         117.581      117.980    118.379   118.778
                             39        119.177      119.595     120.012     120.430     120.847     121.265     121.682     122.100         122.517      122.935    123.352   123.770
                             40        124.187      124.624     125.061     125.498     125.934     126.371     126.808     127.245         127.682      128.119    128.555   128.992
                                                                                                                           ,
                             41        129.429      129.887     130.344     130.802     131.259     131.717     132.175     132.632         133.090      133.547    134.005   134.462
                             42        134.920      135.400     135.879     136.359     136.839     137.318     137.798     138.278         138.757      139.237    139.717   140.196
                             43        140.676      141.179     141.683     142.186     142.690     143.193     143.697     144.200         144.703      145.207    145.710   146.214
                             44        146.717      147.246     147.774     148.303     148.831     149.360     149.888     150.417         150.945      151.474    152.002   152.531
                             45        153.059     153.615      154.170     154.726     155.281     155.837     156.393     156.948         157.504      158.059    158.615   159.170
                             46        159.726     160.311      160.896     161.481     162.065     162.650     163.235     163.820         164.405      164.990    165.574   166.159
                             47        166.744     167.361      167.977     168.594     169.210     169.827     170.443     171.060         171.676      172.293    172.909   173.526
                             48        174.142     174.793      175.444     176.094     176.745     177.396     178.047     178.697         179.348      179.999    180.650   181.300
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                             49        181.951
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                       THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                      BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                       n2=          8
                                   APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                   EITHER: INT=       4.50%    OR:    INT=     7.50%
                                   PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                            k1 =     1.0400            k1 =    1.0750
                                                                                                                                            k2=      1.0400            k2=     1.0750
                                       ....
                                                                                                                                            k3=      1.0400            k3=     1.0750
                                         48 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       ****
                          SPOUSE
                          AGE AT                                                                  NEAREST MONTH
                        CASHOUT               0           1           2           3           4        5        6                 7              8              9       10        11
                           YEARS



                              21         61.119      61.330      61.540      61.751      61.961      62.172      62.382      62.593          62.803       63.014     63.224    63.435
                              22         63.645      63.864      64.083      64.302      64.520      64.739      64.958      65.177          65.396       65.615     65.833    66.052
                              23         66.271      66.499      66.726      66.954      67.182      67.409      67.637      67.865          68.092       68.320     68.548    68.775
                              24         69.003      69.240      69.477      69.714      69.951      70.188      70.425      70.661          70.898       71.135     71.372    71.609
                              25         71.846      72.093      72.339      72.586      72.832      73.079      73.325      73.572          73.818       74.065     74.311    74.558
                              26         74.804      75.061      75.317      75.574      75.830      76.087      76.343      76.600          76.856       77.113     77.369    77.626
                              27         77.882      78.149      78.416      78.683      78.950      79.217      79.484      79.750          80.017       80.284     80.551    80.818
                              28         81.085      81.363      81.641      81.918      82.196      82.474      82.752      83.029          83.307       83.585     83.863    84.140
                              29         84.418      84.707      84.997      85.286      85.575      85.865      86.154      86.443          86.733       87.022     87.311    87.601
                              30         87.890      88.191      88.493      88.794      89.096      89.397      89.699      90.000          90.301       90.603     90.904    91.206

                              31         91.507      91.821      92.135      92.449      92.763      93.077      93.392      93.706          94.020       94.334     94.648    94.962
                              32         95.276      95.603      95.931      96.258      96.585      96.913      97.240      97.567          97.895       98.222     98.549    98.877
                              33         99.204      99.545      99.886     100.227     100.568     100.909     101.250     101.591         101.932      102.273    102.614   102.955
                              34        103.296     103.652     104.008     104.364     104.720     105.076     105.432     105.788        106.144       106.500    106.856   107.212
                              35        107.568     107.940     108.311     108.683     109.054     109.426     109.798     110.169        110.541       110.912    111.284   111.655
                              36        112.027     112.415     112.803     113.192     113.580     113.968     114.356     114.744        115.132       115.521    115.909   116.297
                              37        116.685     117.091     117.496     117.902     118.307     118.713     119.119     119.524        119.930       120.335    120.741   121.146
                              38        121.552     121.976     122.400     122.824     123.248     123.672     124.097     124.521        124.945       125.369    125.793   126.217
                              39        126.641     127.085     127.528     127.972     128.415     128.859     129.303     129.746        130.190       130.633    131.077   131.520
                              40        131.964     132.428     132.892     133.357     133.821     134.285     134.749     135.213        135.677       136.142    136.606   137.070

                              41        137.534     138.020     138.507     138.993     139.479     139.965     140.452     140.938        141.424       141.910    142.397   142.883
                              42        143.369     143.879     144.389     144.898     145.408     145.918     146.428     146.937        147.447       147.957    148.467   148.976
                              43        149.486     150.021     150.556     151.091     151.626     152.161     152.696     153.230        153.765       154.300    154.835   155.370
                              44        155.905     156.467     157.028     157.590     158.152     158.713     159.275     159.837        160.398       160.960    161.522   162.083
                              45        162.645     163.235     163.826     164.416     165.006     165.597     166.187     166.777        167.368       167.958    168.548   169.139
                              46        169.729     170.350     170.972     171.593     172.215     172.836     173.458     174.079        174.700       175.322    175.943   176.565
                              47        177.186     177.841     178.496     179.151     179.806     180.461     181.117     181.772        182.427       183.082    183.737   184.392
                              48        185.047
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1V11NOUNO0
                                                      Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 34 of 56


                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                       n2=         8
                                   APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                   EITHER: INT=      4.50%     OR:    INT=      7.50%
                                   PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400            k1 =    1.0750
                                                                                                                                            k2=      1.0400            k2=     1.0750
                                                                                                                                            k3=      1.0400            k3=     1.0750
                                         47 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                        ***•
                         SPOUSE
                          AGE AT                                                                  NEAREST MONTH
                       CASHOUT                0            1          2           3          4         5        6                7               8              9       10        11
                         YEARS



                              21         64.877       65.100     65.324      65.547      65.771      65.994      66.218      66.441          66.664       66.888     67.111    67.335
                              22         67.558       67.790     68.023      68.255      68.487      68.720      68.952      69.184          69.417       69.649     69.881    70.114
                             23          70.346       70.588     70.829      71.071      71.312      71.554      71.796      72.037          72.279       72.520     72.762    73.003
                             24          73.245       73.497     73.748      74.000      74.251      74.503      74.754      75.006          75.257       75.509     75.760    76.012
                             25          76.263       76.525     76.786      77.048      77.310      77.571      77.833      78.095          78.356       78.618     78.880    79.141
                             26          79.403       79.675     79.948      80.220      80.492      80.764      81.037      81.309          81.581       81.853     82.126    82.398
                             27          82.670       82.953     83.237      83.520      83.803      84.087      84.370      84.653          84.937       85.220     85.503    85.787
                             28          86.070       86.365     86.660      86.955      87.249      87.544      87.839      88.134          88.429       88.724     89.018    89.313
                             29          89.608       89.915     90.222      90.529      90.836      91.143      91.451      91.758          92.065       92.372     92.679    92.986
                             30          93.293       93.613     93.933      94.253      94.573      94.893      95.213      95.533          95.853       96.173     96.493    96.813

                             31          97.133       97.466     97.800      98.133      98.467      98.800      99.134      99.467          99.800      100.134    100.467   100.801
                             32         101.134      101.481    101.829     102.176     102.524     102.871     103.219     103.566         103.913      104.261    104.608   104.956
                             33         105.303      105.665    106.027     106.389     106.751     107.113     107.475     107.837         108.199      108.561    108.923   109.285
                             34         109.647      110.025    110.403     110.781     111.158     111.536     111.914     112.292         112.670      113.048    113.425   113.803
                             35         114.181    , 114.576    114.970     115.365     115.759     116.154     116.548     116.943         117.337      117.732    118.126   118.521
                             36         118.915      119.327    119.739     120.151     120.563     120.975     121.387     121.799         122.211      122.623    123.035   123.447
                             37         123.859      124.290    124.720     125.151     125.581     126.012     126.442     126.873         127.303      127.734    128.164   128.595
                             38         129.025      129.475    129.925     130.376     130.826     131.276     131.726     132.176         132.626      133.077    133.527   133.977
                             39         134.427      134.898    135.369     135.840     136.310     136.781     137.252     137.723         138.194      138.665    139.135   139.606
                             40         140.077      140.570    141.063     141.555     142.048     142.541     143.034     143.526         144.019      144.512    145.005   145.497

                             41         145.990      146.506    147.022     147.539     148.055     148.571     149.087     149.603         150.119      150.636    151.152   151.668
                             42         152.184      152.725    153.266     153.807     154.348     154.889     155.431     155.972         156.513      157.054    157.595   158.136
                             43         158.677      159.245    159.813     160.380     160.948     161.516     162.084     162.651         163.219      163.787    164.355   164.922
                             44         165.490     166.086     166.682     167.279     167.875     168.471     169.067     169.663         170.259      170.856    171.452   172.048
                             45         172.644     173.271     173.897     174.524     175.151     175.777     176.404     177.031         177.657      178.284    178.911   179.537
                             46         180.164     180.824     181.483     182.143     182.803     183.462     184.122     184.782         185.441      186.101    186.761   187.420
                             47         188.080
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1V11NOUNO0
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                    THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY             n1 =         7
                                                                                                                                                                        n2=          8
                                APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                              GREATER FACTOR PRODUCED FROM
                                                                                                                                EITHER: INT=            4.50%      OR: INT=     7.50%
                                PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e.. AGE < 55)                                        k1 =           1.0400          k1=     1.0750
                                                                                                                                         k2=            1.0400          k2=     1.0750
                                     • ***
                                                                                                                                         k3=            1.0400          k3=     1.0750
                                       46 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                     ****
                      SPOUSE
                       AGE AT                                                                       NEAREST MONTH
                     CASHOUT                0            1            2            3           4         5        6             7              8              9          10        11
                       YEARS



                           21          68.795       69.032       69.269       69.506       69.743     69.980    70.217     70.453         70.690        70.927       71.164     71.401
                           22          71.638       71.884       72.131       72.377       72.623     72.870    73.116     73.362         73.609        73.855       74.101     74.348
                           23          74.594       74.850       75.107       75.363       75.619     75.875    76.132     76.388         76.644        76.900       77.157     77.413
                           24          77.669       77.936       78.202       78.469       78.736     79.002    79.269     79.536          79.802       80.069       80.336     80.602
                           25          80.869       81.146       81.424       81.701       81.979     82.256    82.534     82.811          83.088       83.366       83.643     83.921
                           26          84.198       84.487       84.776       85.064       85.353     85.642    85.931     86.219         86.508        86.797       87.086     87.374
                           27          87.663       87.964       88.264       88.565       88.865     89.166    89.466     89.767         90.067        90.368       90.668     90.969
                           28          91.269       91.582       91.894       92.207       92.519     92.832    93.145     93.457         93.770        94.082       94.395     94.707
                           29          95.020       95.346       95.671       95.997       96.323     96.648    96.974     97.300          97.625       97.951       98.277     98.602
                           30          98.928       99.267       99.607       99.946      100.285    100.624   100.964    101.303        101.642       101.981      102.321    102.660

                           31         102.999      103.353      103.706      104.060      104.413    104.767   105.121    105.474        105.828       106.181      106.535    106.888
                           32         107.242      107.610      107.979      108.347      108.715    109.084   109.452    109.820        110.189       110.557      110.925    111.294
                           33         111.662      112.046      112.430      112.814      113.198    113.582   113.966    114.349        114.733       115.117      115.501    115.885
                           34         116.269      116.670      117.070      117.471     117.872     118.272   118.673    119.074        119.474       119.875      120.276    120.676
                           35         121.077      121.495      121.914      122.332     122.750     123.169   123.587    124.005        124.424       124.842      125.260    125.679
                           36        126.097       126.534      126.971      127.408     127.844     128.281   128.718    129.155        129.592       130.029      130.465    130.902
                           37        131.339       131.796      132.252      132.709     133.165     133.622   134.079    134.535        134.992       135.448      135.905    136.361
                           38        136.818       137.295      137.773      138.250     138.727     139.205   139.682    140.159        140.637       141.114      141.591    142.069
                           39        142.546       143.045     143.545       144.044     144.543     145.042   145.542    146.041        146.540       147.039      147.539    148.038
                           40        148.537       149.060     149.582       150.105     150.627     151.150   151.672    152.195        152.717       153.240      153.762    154.285

                           41        154.807       155.354      155.902      156.449     156.996     157.544   158.091    158.638        159.186       159.733      160.280    160.828
                           42        161.375       161.949      162.523      163.096     163.670     164.244   164.818    165.391        165.965       166.539      167.113    167.686
                           43        168.260       168.862      169.464      170.066     170.668     171.270   171.873    172.475        173.077       173.679      174.281    174.883
                           44        175.485      176.117      176.749      177.382      178.014     178.646   179.278    179.910        180.542       181 .175     181 .807   182.439
                           45        183.071      183.736      184.400      185.065      185.729     186.394   187.058    187.723        188.387       189.052      189.716    190.381
                           46        191.045
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1V11NOHNO0
                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 36 of 56

                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                      BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                       n2=          8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=      4.50%     OR: INT=         7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                           k2=      1.0400         k2=         1.0750
                                                                                                                                           k3=      1.0400         k3=         1.0750
                                        45 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ..***
                        SPOUSE
                         AGE AT                                                                   NEAREST MONTH
                       CASHOUT               0           1            2           3           4        5        6                 7              8              9       10        11
                         YEARS



                             21         72.880      73.131       73.382      73.633      73.884      74.135      74.386      74.636          74.887       75.138     75.389    75.640
                             22         75.891      76.152       76.413      76.674      76.935      77.196      77.457      77.718          77.979       78.240     78.501    78.762
                             23         79.023      79.294       79.566      79.837      80.109      80.380      80.652      80.923          81.194       81.466     81.737    82.009
                             24         82.280      82.563       82.845      83.128      83.410      83.693      83.975      84.258         84.540        84.823     85.105    85.388
                             25         85.670      85.964       86.258      86.552      86.846      87.140      87.434      87.727         88.021        88.315     88.609    88.903
                             26         89.197      89.503       89.809      90.115      90.421      90.727      91.033      91.338         91.644        91.950     92.256    92.562
                             27         92.868      93.186       93.505      93.823      94.141      94.460      94.778      95.096         95.415        95.733     96.051    96.370
                             28         96.688      97.019       97.350      97.682      98.013      98.344      98.675      99.006         99.337        99.669    100.000   100.331
                             29        100.662     101.007      101.352     101.697     102.042     102.387     102.732     103.076        103.421       103.766    104.111   104.456
                             30        104.801     105.161      105.520     105.880     106.239     106.599     106.958     107.318        107.677       108.037    108.396   108.756

                             31        109.115     109.490     109.864      110.239     110.613     110.988     111.362     111.737        112.111       112.486    112.860   113.235
                             32        113.609     113.999     114.390      114.780     115.170     115.560     115.951     116.341        116.731       117.121    117.512   117.902
                             33        118.292     118.699     119.106      119.512     119.919     120.326     120.733     121.139        121.546       121.953    122.360   122.766
                             34        123.173     123.597     124.022      124.446     124.871     125.295     125.720     126.144        126.568       126.993    127.417   127.842
                             35        128.266     128.709     129.152      129.595     130.038     130.481     130.925     131.368        131.811       132.254    132.697   133.140
                             36        133.583     134.046     134.509      134.972     135.434     135.897     136.360     136.823        137.286       137.749    138.211   138.674
                             37        139.137   . 139.621     140.104      140.588     141.072     141.555     142.039     142.523        143.006       143.490    143.974   144.457
                             38        144.941     145.447     145.952      146.458     146.964     147.469     147.975     148.481        148.986       149.492    149.998   150.503
                             39        151.009     151.538     152.067      152.596     153.125     153.654     154.183     154.711        155.240       155.769    156.298   156.827
                             40        157.356     157.910     158.463      159.017     159.570     160.124     160.678     161.231        161.785       162.338    162.892   163.445

                             41        163.999     164.579     165.159      165.738     166.318     166.898     167.478     168.057        168.637       169.217    169.797   170.376
                             42        170.956     171.564     172.172      172.780     173.387     173.995     174.603     175.211        175.819       176.427    177.034   177.642
                             43        178.250     178.888     179.526      180.164     180.801     181.439     182.077     182.715        183.353       183.991    184.628   185.266
                             44        185.904     186.574     187.243      187.913     188.583     189.252     189.922     190.592        191.261       191.931    192.601   193.270
                             45        193.940
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                                                    Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 37 of 56


                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                     BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                      n2=          8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                 GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=        7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1=        1.0750
                                                                                                                                           k2=      1.0400         k2=        1.0750
                                      ****
                                                                                                                                           k3=      1.0400         k3=        1.0750
                                        44 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       ****
                        SPOUSE
                         AGE AT                                                                  NEAREST MONTH
                       CASH OUT              0           1           2           3           4        5        6                7               8              9       10        11
                         YEARS



                             21         77.136      77.402      77.667      77.933      78.199       78.464     78.730      78.996          79.261       79.527     79.793    80.058
                             22         80.324      80.600      80.876      81.153      81.429       81.705     81.981      82.257          82.533       82.810     83.086    83.362
                             23         83.638      83.925      84.213      84.500      84.787       85.075     85.362      85.649          85.937       86.224     86.511    86.799
                             24         87.086      87.385      87.684      87.983      88.282       88.581     88.880      89.178          89.477       89.776     90.075    90.374
                             25         90.673      90.984      91.295      91.607      91.918       92.229     92.540      92.851          93.162       93.474     93.785    94.096
                             26         94.407      94.731      95.055      95.378      95.702       96.026     96.350      96.673         96.997        97.321     97.645    97.968
                             27         98.292      98.629      98.966      99.303      99.639       99.976    100.313     100.650        100.987       101.324    101.660   101.997
                             28        102.334     102.685     103.035     103.386     103.736      104.087    104.437     104.788        105.138       105.489    105.839   106.190
                             29        106.540     106.905     107.270     107.636     108.001      108.366    108.731     109.096         109.461      109.827    110.192   110.557
                             30        110.922     111.302     111.683     112.063     112.444     112.824     113.205     113.585         113.965      114.346    114.726   115.107

                             31        115.487     115.883     116.280     116.676     117.073     117.469     117.866     118.262        118.658       119.055    119.451   119.848
                             32        120.244     120.657     121.070     121.483     121.896     122.309     122.723     123.136        123.549       123.962    124.375   124.788
                             33        125.201     125.631     126.062     126.492     126.923     127.353     127.784     128.214        128.644       129.075    129.505   129.936
                             34        130.366     130.815     131.265     131.714     132.163     132.612     133.062     133.511        133.960       134.409    134.859   135.308
                             35        135.757     136.228     136.695     137.164     137.633     138.102     138.571     139.040        139.509       139.978    140.447   140.916
                             36        141.385     141.875     142.365     142.855     143.344     143.834     144.324     144.814        145.304       145.794    146.283   146.773
                             37        147.263     147.775     148.287     148.799     149.311     149.823     150.335     150.846        151.358       151.870    152.382   152.894
                             38        153.406     153.941     154.476     155.012     155.547     156.082     156.617     157.152        157.687       158.223    158.758   159.293
                             39        159.828     160.388     160.948     161.508     162.067     162.627     163.187     163.747        164.307       164.867    165.426   165.986
                             40        166.546     167.132     167.718     168.304     168.890     169.476     170.062     170.647        171.233       171.819    172.405   172.991

                             41        173.577     174.191     174.804     175.418     176.032     176.645     177.259     177.873        178.486       179.100    179.714   180.327
                             42        180.941     181.584     182.228     182.871     183.514     184.158     184.801     185.444        186.088       186.731    187.374   188.018
                             43        188.661     189.336     190.011     190.686     191.361     192.036     192.711     193.386        194.061       194.736    195.411   196.086
                             44        196.761
817E17000-1 JewelAl
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                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 38 of 56

                      THE WOOLWORTH RETIREMENT PLAN - JANUARY 1 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                       n2=          8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=         7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                           k2=      1.0400         k2=         1.0750
                                                                                                                                           k3=      1.0400         k3=         1.0750
                                        43 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ....
                        SPOUSE
                         AGE AT                                                                   NEAREST MONTH
                       CASH OUT              0           1            2           3           4        5        6                 7              8              9       10        11
                         YEARS



                             21         81.571       81.852      82.133      82.414      82.694      82.975      83.256      83.537          83.818       84.099     84.379    84.660
                             22         84.941       85.233      85.525      85.818      86.110      86.402      86.694      86.986          87.278       87.571     87.863    88.155
                             23         88.447       88.751      89.055      89.358      89.662      89.966      90.270      90.573          90.877       91.181     91.485    91.788
                             24         92.092       92.408      92.724      93.041      93.357      93.673      93.989      94.305         94.621        94.938     95.254    95.570
                             25         95.886       96.215      96.544      96.873      97.202      97.531      97.860      98.189         98.518        98.847     99.176    99.505
                             26         99.834      100.176     100.519     100.861     101.203     101.546     101.888     102.230        102.573       102.915    103.257   103.600
                             27        103.942      104.298     104.655     105.011     105.367     105.723     106.080     106.436        106.792       107.148    107.505   107.861
                             28        108.217      108.588     108.958     109.329     109.700     110.070     110.441     110.812        111.182       111.553    111.924   112.294
                             29        112.665      113.051     113.437     113.824     114.210     114.596     114.982     115.368        115.754       116.141    116.527   116.913
                             30        117.299      117.701     118.104     118.506     118.908     119.310     119.713     120.115        120.517       120.919    121.322   121.724

                             31        122.126     122.545      122.965     123.384     123.803     124.222     124.642     125.061        125.480       125.899    126.319   126.738
                             32        127.157     127.594      128.031     128.467     128.904     129.341     129.778     130.214        130.651       131.088    131.525   131.961
                             33        132.398      132.853     133.309     133.764     134.219     134.674     135.130     135.585        136.040       136.495    136.951   137.406
                             34        137.861     138.336      138.811     139.286     139.761     140.236     140.711     141.186        141.661       142.136    142.611   143.086
                             35        143.561     144.057      144.553     145.049     145.545     146.041     146.537     147.033        147.529       148.025    148.521   149.017
                             36        149.513     150.031     150.549      151.067     151.585     152.103     152.621     153.139        153.657       154.175    154.693   155.211
                             37        155.729     156.270     156.812      157.353     157.894     158.436     158.977     159.518        160.060       160.601    161.142   161.684
                             38        162.225     162.791     163.357      163.923     164.489     165.055     165.621     166.186        166.752       167.318    167.884   168.450
                             39        169.016     169.608     170.200      170.792     171.384     171.976     172.568     173.160        173.752       174.344    174.936   175.528
                             40        176.120     176.740     177.359      177.979     178.598     179.218     179.838     180.457        181.077       181.696    182.316   182.935

                             41        183.555     184.204     184.853      185.502     186.151     186.800     187.449     188.098        188.747       189.396    190.045   190.694
                             42        191.343     192.023     192.704      193.384     194.064     194.744     195.425     196.105        196.785       197.465    198.146   198.826
                             43        199.506
617E17000-1 JewelAl
1V11NOUNO0
                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 39 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                     BASIS: UP1984 MORTALITY            n1 =         7
                                                                                                                                                                        n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                     GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=             4.50%     OR: INT=    7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1 =           1.0400          k1=    1.0750
                                                                                                                                          k2=            1.0400          k2=    1.0750
                                                                                                                                          k3=            1.0400          k3=    1.0750
                                       42 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                0            1            2            3           4         5        6             7              8              9         10         11
                        YEARS



                            21          86.189       86.486       86.783       87.080       87.376     87.673    87.970     88.267          88.564       88.861       89.157    89.454
                            22          89.751       90.060       90.368       90.677       90.986     91.294    91.603     91.912          92.220       92.529       92.838    93.146
                            23          93.455       93.776       94.097       94.418       94.739     95.060    95.381     95.701          96.022       96.343       96.664    96.985
                            24          97.308       97.640       97.974       98.308      98.642      98.976    99.311     99.645         99.979       100.313      100.647   100.981
                            25         101.315      101.663      102.010      102.358     102.706     103.053   103.401    103.749        104.096       104.444      104.792   105.139
                            26         105.487      105.849      106.211      106.572     106.934     107.296   107.658    108.019        108.381       108.743      109.105   109.466
                            27         109.828      110.204      110.581      110.957     111.334     111.710   112.087    112.463        112.839       113.216      113.592   113.969
                            28         114.345      114.737      115.128      115.520     115.912     116.303   116.695    117.087        117.478       117.870      118.262   118.653
                            29         119.045      119.453      119.861      120.269     120.677     121.085   121.493    121.901        122.309       122.717      123.125   123.533
                            30         123.941      124.366      124.791      125.216     125.641     126.066   126.492    126.917        127.342       127.767      128.192   128.617

                            31        129.042       129.485      129.928      130.371     130.813     131.256   131.699    132.142        132.585       133.028      133.470   133.913
                            32        134.356       134.818      135.279      135.741     136.202     136.664   137.126    137.587        138.049       138.510      138.972   139.433
                            33         139.895      140.376      140.857      141.338     141.819     142.300   142.781    143.262        143.743       144.224      144.705   145.186
                            34        145.667       148.169      146.671     147.173      147.675     148.177   148.679    149.180        149.682       150.184      150.686   151.188
                            35        151.690       152.214      152.738     153.262      153.786     154.310   154.834    155.358        155.882       156.406      156.930   157.454
                            36        157.978       158.525      159.073     159.620      160.168     160.715   161.263    161.810        162.357       162.905      163.452   164.000
                            37        164.547       165.119      165.691      166.263     166.835     167.407   167.979    168.550        169.122       169.694     .170.266   170.838
                            38        171.410       172.008      172.606      173.204     173.802     174.400   174.998    175.596        176.194       176.792      177.390   177.988
                            39        178.586      179.212       179.837     180.463      181.088     181.714   182.339    182.965        183.590       184.216      184.841   185.467
                            40        186.092      186.747      187.401      188.056      188.711     189.365   190.020    190.675        191.329       191.984      192.639   193.293

                            41        193.948       194.634     195.320      196.005      196.691     197.377   198.063    198.748        199.434       200.120      200.806   201.491
                            42        202.177
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1V11NOUNO0
                                                      Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 40 of 56


                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                     BASIS: UP1984 MORTALITY            n1 =         7
                                                                                                                                                                        n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                     GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=            4.50%      OR: INT=    7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1 =           1.0400          k1=    1.0750
                                                                                                                                          k2=            1.0400          k2=    1.0750
                                                                                                                                          k3=            1.0400          k3=    1.0750
                                       41 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASH OUT               0            1            2            3           4         5        6             7              8              9         10        11
                        YEARS



                            21          90.999       91.312       91.626       91.939       92.252     92.566    92.879     93.192         93.506        93.819       94.132    94.446
                            22          94.759       95.085       95.411       95.737       96.063     96.389    96.715     97.040         97.366        97.692       98.018    98.344
                            23          98.670       99.009       99.348       99.687      100.025    100.364   100.703    101.042        101.381       101.720      102.058   102.397
                            24         102.736      103.089      103.442      103.794     104.147     104.500   104.853    105.205        105.558       105.911      106.264   106.616
                            25         106.969      107.336      107.703      108.070     108.437     108.804   109.171    109.538        109.905       110.272      110.639   111.006
                            26         111.373      111.755      112.137      112.519     112.901     113.283   113.665    114.047        114.429       114.811      115.193   115.575
                            27         115.957     s 116.354     116.752      117.149     117.547     117.944   118.342    118.739        119.136       119.534      119.931   120.329
                            28         120.726       121.140     121.553      121.967     122.380     122.794   123.207    123.621        124.034       124.448      124.861   125.275
                            29         125.688       126.119     126.550      126.980     127.411     127.842   128.273    128.703        129.134       129.565      129.996   130.426
                            30         130.857      131.306      131.755      132.203     132.652     133.101   133.550    133.998        134.447       134.896      135.345   135.793

                            31         136.242      136.710      137.177      137.645     138.113     138.580   139.048    139.516        139.983       140.451      140.919   141.386
                            32         141.854      142.341      142.829      143.316     143.803     144.290   144.778    145.265        145.752       146.239      146.727   147.214
                            33         147.701      148.209      148.717      149.225     149.732     150.240   150.748    151.256        151.764       152.272      152.779   153.287
                            34        153.795       154.325      154.855      155.385     155.915     156.445   156.975    157.505        158.035       158.565      159.095   159.625
                            35        160.155       160.708      161.262      161.815     162.368     162.921   163.475    164.028        164.581       165.134      165.688   166.241
                            36        166.794       167.372     167.950       168.528     169.106     169.684   170.262    170.839        171.417       171.995      172.573   173.151
                            37        173.729       174.333     174.937       175.541     176.144     176.748   177.352    177.956        178.560       179.164      179.767   180.371
                            38        180.975       181.606     182.238       182.869     183.501     184.132   184.764    185.395        186.026       186.658      187.289   187.921
                            39        188.552       189.212     189.873      190.533      191.194     191.854   192.515    193.175        193.835       194.496      195.156   195.817
                            40        196.477       197.168     197.859      198.551      199.242     199.933   200.624    201.315        202.006       202.698      203.389   204.080

                            41        204.771
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                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 41 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY            n1=         7
                                                                                                                                                                       n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                    GREATER FACTOR PRODUCED FROM
                                                                                                                                    EITHER: INT=        4.50%      OR: INT=    7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                             k1=        1.0400         k1 =    1.0750
                                                                                                                                             k2=        1.0400         k2=     1.0750
                                                                                                                                             k3=        1.0400         k3=     1.0750
                                       40 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT

                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                0            1            2            3            4        5        6           7               8              9         10        11
                        YEARS



                            21          96.007       96.338       96.668       96.999       97.329     97.660    97.991    98.321         98.652        98.982       99.313    99.643
                            22          99.974      100.318      100.662      101.005      101.349    101.693   102.037   102.380        102.724       103.068      103.412   103.755
                            23         104.099      104.457      104.814      105.172      105.529    105.887   106.245   106.602        106.960       107.317      107.675   108.032
                            24         108.390      108.762      109.134      109.506      109.878    110.250   110.623   110.995         111.367      111.739      112.111   112.483
                            25         112.855      113.242      113.630      114.017      114.404    114.791   115.179   115.566         115.953      116.340      116.728   117.115
                            26         117.502      117.905      118.308      118.711     119.114     119.517   119.920   120.323        120.726       121.129      121.532   121.935
                            27         122.338      122.757      123.177      123.596     124.015     124.434   124.854   125.273        125.692       126.111      126.531   126.950
                            28         127.369      127.805      128.242      128.678     129.114     129.550   129.987   130.423        130.859       131.295      131.732   132.168
                            29         132.604      133.059      133.513      133.968     134.422     134.877   135.331   135.786         136.240      136.695      137.149   137.604
                            30         138.058      138.532      139.005      139.479      139.952    140.426   140.899   141.373         141.846      142.320      142.793   143.267

                            31        143.740       144.233      144.727      145.220     145.713     146.207   146.700   147.193        147.687       148.180      148.673   149.167
                            32        149.660       150.174      150.688      151.202     151.716     152.230   152.745   153.259         153.773      154.287      154.801   155.315
                            33        155.829       156.365      156.901      157.436     157.972     158.508   159.044   159.579         160.115      160.651      161.187   161.722
                            34        162.258       162.817     163.376       163.936     164.495     165.054   165.613   166.172        166.731       167.291      167.850   168.409
                            35        168.968       169.552     170.136       170.719     171.303     171.887   172.471   173.054        173.638       174.222      174.806   175.389
                            36        175.973       176.583     177.192      177.802      178.412     179.021   179.631   180.241        180.850       181.460      182.070   182.679
                            37        183.289       183.926     184.563      185.200      185.837     186.474   187.112   187.749        188.386       189.023      189.660   190.297
                            38        190.934       191.600     192.266      192.933      193.599     194.265   194.931   195.597        196.263       196.930      197.596   198.262
                            39        198.928      199.625       200.322      201.018      201.715    202.412   203.109   203.805         204.502      205.199      205.896   206.592
                            40        207.289
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                     BASIS: UP1984 MORTALITY            n1=          7
                                                                                                                                                                        n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                     GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=             4.50%     OR: INT=     7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1 =           1.0400          k1     1.0750
                                      •rir                                                                                                k2=            1.0400          k2=    1.0750
                                                                                                                                          k3=            1.0400          k3=    1.0750
                                       39 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ft•i
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                0            1            2            3           4         5        6             7              8              9         10        11
                         YEARS



                            21         101.219      101.568      101.916      102.265      102.613    102.962   103.311    103.659        104.008       104.356      104.705   105.053
                            22         105.402      105.765      106.127      106.490      106.852    107.215   107.577    107.940        108.302       108.665      109.027   109.390
                            23         109.752      110.129      110.506      110.883      111.260    111.637   112.014    112.390        112.767       113.144      113.521   113.898
                            24         114.275      114.667      115.060      115.452     115.844     116.237   116.629    117.021        117.414       117.806      118.198   118.591
                            25         118.983      119.391      119.800      120.208     120.616     121.024   121.433    121.841        122.249       122.657      123.066   123.474
                            26         123.882      124.307      124.732      125.157     125.581     126.006   126.431    126.856        127.281       127.706      128.130   128.555
                            27         128.980      129.422      129.864      130.306     130.748     131.190   131.633    132.075        132.517       132.959      133.401   133.843
                            28         134.285      134.745      135.205      135.665     136.125     136.585   137.045    137.504        137.964       138.424      138.884   139.344
                            29         139.804      140.283      140.762      141.242     141.721     142.200   142.679    143.158        143.637       144.117      144.596   145.075
                            30         145.554      146.053      146.552      147.052     147.551     148.050   148.549    149.048        149.547       150.047      150.546   151.045

                            31        151.544       152.064      152.584     153.105      153.625     154.145   154.665    155.185        155.705       156.226     156.746    157.266
                            32        157.786       158.328      158.870     159.412      159.954     160.496   161.038    161.580        162.122       162.664     163.206    163.748
                            33        164.290       164.855     165.420      165.985      166.550     167.115   167.680    168.244        168.809       169.374     169.939    170.504
                            34        171.069       171.658     172.248      172.837      173.427     174.016   174.606    175.195        175.784       176.374     176.963    177.553
                            35        178.142       178.757     179.373      179.988      180.604     181.219   181.835    182.450        183.065       183.681     184.296    184.912
                           36         185.527      186.170      186.813      187.456      188.098     188.741   189.384    190.027        190.670       191.313     191 .955   192.598
                           37         193.241       193.913     194.584      195.256      195.928     196.599   197.271    197.943        198.614       199.286     199.958    200.629
                           38         201.301       202.003     202.706      203.408 '    204.110     204.813   205.515    206.217        206.920       207.622     208.324    209.027
                           39         209.729
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              THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                             BASIS: UP1984 MORTALITY          n1=          7
                                                                                                                                                              n2=          8
                          APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                          EITHER: INT=       4.50%    OR: INT=        7.50%
                          PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                   k1=      1.0400         k1=        1.0750
                                                                                                                                   k2=      1.0400         k2=        1.0750
                                                                                                                                   k3=      1.0400         k3=        1.0750
                                38 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                              • a*•
                SPOUSE
                 AGE AT                                                                  NEAREST MONTH
               CASHOUT               0          1            2           3          4         5        6                7               8              9       10        11
                  YEARS



                     21        106.645     107.012     107.380     107.747     108.114     108.481     108.849     109.216         109.583      109.950    110.318   110.685
                     22        111.052     111.434     111.816     112.198     112.580     112.962     113.344     113.725         114.107      114.489    114.871   115.253
                     23        115.635     116.032     116.429     116.827     117.224     117.621     118.018     118.415         118.812      119.210    119.607   120.004
                     24        120.401     120.814     121.228     121.641     122.054     122.468     122.881     123.294         123.708      124.121    124.534   124.948
                     25        125.361     125.791     126.221     126.652     127.082     127.512     127.942     128.372         128.802      129.233    129.663   130.093
                     26        130.523     130.971     131.418     131.866     132.313     132.761     133.209     133.656         134.104      134.551    134.999   135.446
                     27        135.894     136.360     136.826     137.291     137.757     138.223     138.689     139.154         139.620      140.086    140.552   141.017
                     28        141.483     141.968     142.452     142.937     143.421      143.906    144.391     144.875         145.360      145.844    146.329   146.813
                     29        147.298     147.803     148.308     148.813     149.317      149.822    150.327     150.832         151.337      151.842    152.346   152.851
                     30        153.356     153.882     154.408     154.934     155.460      155.986    156.512     157.038         157.564      158.090    158.616   159.142

                     31        159.668     160.216     160.764     161.312     161.860     162.408     162.956     163.504        164.052       164.600    165.148   165.696
                     32        166.244     166.815     167.386     167.957     168.528     169.099     169.671     170.242        170.813       171.384    171.955   172.526
                     33        173.097     173.692     174.287     174.882     175.477     176.072     176.668     177.263         177.858      178.453    179.048   179.643
                     34        180.238     180.859     181.480     182.101     182.722     183.343     183.965     184.586        185.207       185.828    186.449   187.070
                     35        187.691     188.339     188.988     189.636     190.285     190.933     191.582     192.230        192.878       193.527    194.175   194.824
                     36        195.472     196.149     196.827     197.504     198.181     198.858     199.536     200.213         200.890      201.567    202.245   202.922
                     37        203.599     204.307     205.015     205.722     206.430      207.138    207.846     208.553         209.261      209.969    210.677   211.384
                     38        212.092
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                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                     n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       37 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                        SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT              0           1            2           3           4        5        6                7               8              9       10        11
                        YEARS



                            21        112.292     112.679     113.065     113.452     113.839      114.225    114.612     114.999         115.385      115.772    116.159   116.545
                            22        116.932     117.334     117.736     118.139     118.541      118.943    119.345     119.747         120.149      120.552    120.954   121.356
                            23        121.758     122.176     122.594     123.013     123.431      123.849    124.267     124.685         125.103      125.522    125.940   126.358
                            24        126.776     127.211     127.646     128.082     128.517      128.952    129.387     129.822         130.257      130.693    131.128   131.563
                            25        131.998     132.451     132.904     133.357     133.810      134.263    134.716     135.169         135.622      136.075    136.528   136.981
                            26        137.434     137.905     138.377     138.848     139.319      139.790    140.262     140.733         141.204      141.675    142.147   142.618
                            27        143.089     143.579     144.070     144.560     145.051      145.541    146.032     146.522         147.012      147.503    147.993   148.484
                            28        148.974     149.484     149.995     150.505     151.015      151.525    152.036     152.546         153.056      153.566    154.077   154.587
                            29        155.097     155.629     156.160     156.692     157.223      157.755    158.287     158.818         159.350      159.881    160.413   160.944
                            30        161.476     162.030     162.584     163.138     163.691      164.245    164.799     165.353         165.907      166.461    167.014   167.568

                            31        168.122     168.699     169.276     169.853     170.430      171.007    171.585     172.162         172.739      173.316    173.893   174.470
                            32        175.047     175.648     176.250     176.851     177.452      178.053    178.655     179.256         179.857      180.458    181.060   181.661
                            33        182.262     182.889     183.515     184.142     184.769      185.395    186.022     186.649         187.275      187.902    188.529   189.155
                            34        189.782     190.436     191.090     191.744     192.398      193.052    193.706     194.359         195.013      195.667    196.321   196.975
                            35        197.629     198.312     198.995     199.677     200.360      201.043    201.726     202.408         203.091      203.774    204.457   205.139
                            36        205.822     206.535     207.248     207.962     208.675      209.388     210.101    210.814         211.527      212.241    212.954   213.667
                            37        214.380
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                                                    Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 45 of 56


                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                     n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1=      1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                      ****
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       38 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ***A
                       SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0           1           2           3           4        5        6                7               8              9       10        11
                        YEARS



                            21        118.168     118.575     118.982     119.389     119.796     120.203     120.610     121.016        121.423       121.830    122.237   122.644
                            22        123.051     123.474     123.897     124.321     124.744     125.167     125.590     126.013        126.436       126.860    127.283   127.706
                            23        128.129     128.569     129.009     129.449     129.889     130.329     130.770     131.210        131.650       132.090    132.530   132.970
                            24        133.410     133.868     134.326     134.784     135.242     135.700     136.158     136.616        137.074       137.532    137.990   138.448
                            25        138.906     139.383     139.859     140.336     140.812     141.289     141.766     142.242        142.719       143.195    143.672   144.148
                            26        144.625     145.121     145.617     146.113     146.609     147.105     147.601     148.097        148.593       149.089    149.585   150.081
                            27        150.577     151.093     151.609     152.125     152.641     153.157     153.674     154.190        154.706       155.222    155.738   156.254
                            28        156.770     157.307     157.844     158.381     158.918     159.455     159.992     160.528        161.065       161.602    162.139   162.676
                            29        163.213     163.772     164.332     164.891     165.451     166.010     166.570     167.129        167.688       168.248    168.807   169.367
                            30        169.926     170.509     171.092     171.674     172.257     172.840     173.423     174.005        174.588       175.171    175.754   176.336

                            31        176.919     177.526     178.134     178.741     179.348     179.955     180.563     181.170        181.777       182.384    182.992   183.599
                            32        184.206     184.839     185.472     186.105     186.737     187.370     188.003     188.636        189.269       189.902    190.534   191.167
                            33        191.800     192.459     193.119     193.778     194.438     195.097     195.757     196.416        197.075       197.735    198.394   199.054
                            34        199.713     200.401     201.089     201.778     202.466     203.154     203.842     204.530        205.218       205.907    206.595   207.283
                            35        207.971     208.690     209.408     210.127     210.845     211.564     212.282     213.001        213.719       214.438    215.156   215.875
                            36        216.593
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                                                   Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 46 of 56


                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY          n1=         7
                                                                                                                                                                     n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=      4.50%     OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       35 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      **rt.
                        SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT              0           1            2           3          4         5        6                7               8              9       10        11
                         YEARS



                            21        124.282     124.710     125.138     125.566     125.994     126.422     126.850     127.278         127.706      128.134    128.562   128.990
                            22        129.418     129.863     130.308     130.753     131.198     131.643     132.089     132.534         132.979      133.424    133.869   134.314
                            23        134.759     135.222     135.685     136.148     136.610     137.073     137.536     137.999         138.462      138.925    139.387   139.850
                            24        140.313     140.795     141.276     141.758     142.240     142.721     143.203     143.685         144.166      144.648    145.130   145.611
                            25        146.093     146.594     147.096     147.597     148.098     148.599     149.101     149.602         150.103      150.604    151.106   151.607
                            26        152.108     152.630     153.151     153.673     154.195     154.716     155.238     155.760         156.281      156.803    157.325   157.846
                            27        158.368     158.911     159.454     159.996     160.539     161.082     161.625     162.167         162.710      163.253    163.796   164.338
                            28        164.881     165.446     166.011     166.575     167.140     167.705     168.270     168.834         169.399      169.964    170.529   171.093
                            29        171.658     172.246     172.835     173.423     174.011     174.600     175.188     175.776         176.365      176.953    177.541   178.130
                            30        178.718     179.331     179.944     180.557     181.170     181.783     182.396     183.009         183.622      184.235    184.848   185.461

                            31        186.074     186.713     187.351     187.990     188.629     189.267     189.906     190.545         191.183      191.822    192.461   193.099
                            32        193.738     194.404     195.069     195.735     196.400     197.066     197.731     198.397         199.062      199.728    200.393   201.059
                            33        201.724     202.418     203.111     203.805     204.498      205.192     205.885    206.579         207.272      207.966    208.659   209.353
                            34        210.046     210.770     211.494     212.218     212.941      213.665    214.389     215.113         215.837      216.561    217.284   218.008
                            35        218.732
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                                                   Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 47 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASH OUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                     n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=         7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1=      1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       34 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT

                       SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0           1           2           3           4        5        6                 7              8              9       10        11
                        YEARS



                            21        130.644     131.094     131.544     131.994     132.443     132.893     133.343     133.793        134.243       134.693    135.142   135.592
                            22        136.042     136.510     136.978     137.446     137.913     138.381     138.849     139.317        139.785       140.253    140.720   141.188
                            23        141.656     142.143     142.629     143.116     143.602     144.089     144.576     145.062        145.549       146.035    146.522   147.008
                            24        147.495     148.001     148.508     149.014     149.520     150.027     150.533     151.039        151.546       152.052    152.558   153.065
                            25        153.571     154.098     154.625     155.152     155.679     156.206     156.733     157.259        157.786       158.313    158.840   159.367
                            26        159.894     160.442     160.991     161.539     162.087     162.636     163.184     163.732        164.281       164.829    165.377   165.926
                            27        166.474     167.045     167.615     168.186     168.756     169.327     169.898     170.468        171.039       171.609    172.180   172.750
                            28        173.321     173.915     174.508     175.102     175.696     176.289     176.883     177.477        178.070       178.664    179.258   179.851
                            29        180.445     181.063     181.682     182.300     182.919     183.537     184.156     184.774        185.392       186.011    186.629   187.248
                            30        187.866     188.510     189.155     189.799     190.443     191.088     191.732     192.376        193.021       193.665    194.309   194.954

                            31        195.598     196.269     196.941     197.612     198.283     198.955     199.626     200.297         200.969      201.640    202.311   202.983
                            32        203.654     204.354     205.053     205.753     206.452     207.152     207.852     208.551         209.251      209.950    210.650   211.349
                            33        212.049     212.778     213.507     214.236     214.965     215.694     216.424     217.153        217.882       218.611    219.340   220.069
                            34        220.798
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                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 48 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY           n1=         7
                                                                                                                                                                      n2=
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                             GREATER FACTOR PRODUCED FROM
                                                                                                                                     EITHER: INT=      4.50%     OR: INT=     7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                            k1 =     1.0400         k1 =   1.0750
                                                                                                                                              k2=      1.0400         k2=    1.0750
                                      ir•**
                                                                                                                                             k3=        1.0400        k3=    1.0750
                                       33 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                 0          1            2            3            4         5        6           7               8              9        10        11
                         YEARS



                            21         137.262      137.735      138.207      138.680      139.153    139.625   140.098   140.571         141.043      141.516     141.989   142.461
                            22         142.934      143.426      143.917      144.409      144.900    145.392   145.883   146.375         146.866      147.358     147.849   148.341
                            23         148.832      149.343      149.855      150.366      150.877    151.388   151.900   152.411         152.922      153.433     153.945   154.456
                            24         154.967      155.499      156.031      156.563      157.095    157.627   158.159   158.691         159.223      159.755     160.287   160.819
                            25         161.351      161.905      162.458      163.012      163.565    164.119   164.673   165.226         165.780      166.333     166.887   167.440
                            26         167.994      168.570      169.146      169.723      170.299    170.875   171.451   172.027         172.603      173.180     173.756   174.332
                            27         174.908      175.507      176.107      176.706      177.306    177.905   178.505   179.104         179.703      180.303     180.902   181.502
                            28         182.101      182.725      183.349      183.972      184.596    185.220   185.844   186.467         187.091      187.715     188.339   188.962
                            29         189.586      190.236      190.886      191.535      192.185    192.835   193.485   194.134         194.784      195.434     196.084   196.733
                            30         197.383      198.060      198.737      199.414      200.091    200.768   201.445   202.122         202.799       203.476    204.153   204.830

                            31         205.507      206.212      206.918      207.623      208.328    209.034   209.739   210.444         211.150       211.855    212.560   213.266
                            32         213.971      214.706      215.441      216.176      216.911    217.646   218.381   219.116         219.851       220.586    221.321   222.056
                            33         222.791
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1V11NOUNO0
                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 49 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                       n2=         8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=         7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e.. AGE < 55)                                        k1=      1.0400         k1=         1.0750
                                                                                                                                           k2=      1.0400         k2=         1.0750
                                       ***.
                                                                                                                                           k3=      1.0400         k3=         1.0750
                                        32 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       ***•
                        SPOUSE
                         AGE AT                                                                  NEAREST MONTH
                       CASHOUT              0            1,           2         3           4         5        6                 7               8              9       10        11
                          YEARS



                             21        144.147      144.643    145.140     145.636     146.132      146.629     147.125    147.621          148.118      148.614    149.110   149.607
                             22        150.103      150.619    151.136     151.652     152.168      152.684     153.201    153.717          154.233      154.749    155.266   155.782
                             23        156.298      156.835    157.372     157.909     158.445      158.982     159.519    160.056          160.593      161.130    161.666   162.203
                             24        162.740     163.299     163.857     164.416     164.975      165.533     166.092    166.651          167.209      167.768    168.327   168.885
                             25        169.444     170.025     170.607     171.188     171.770      172.351     172.933    173.514          174.095      174.677    175.258   175.840
                             26        176.421     177.026     177.631     178.236     178.841      179.446     180.051    180.656          181.261      181.866    182.471   183.076
                             27        183.681     184.311     184.940     185.570     186.199      186.829     187.459    188.088          188.718      189.347    189.977   190.606
                             28        191.236     191.891     192.546     193.201     193.856      194.511     195.166    195.821          196.476      197.131    197.786   198.441
                             29        199.096     199.778     200.461     201.143     201.825      202.508     203.190     203.872         204.555      205.237    205.919   206.602
                             30        207.284      207.995     208.706    209.417     210.128      210.839     211.550     212.260         212.971      213.682    214.393   215.104

                            31         215.815      216.556     217.297    218.037     218.778      219.519     220.260     221.000         221.741      222.482    223.223   223.963
                            32         224.704
09E17000-1 JewelAl
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                                                    Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 50 of 56


                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                            BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                     n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=      4.50%     OR: INT=        7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1=      1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       31 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT

                       SPOUSE
                        AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0          1            2          3           4         5        6                7               8              9       10        11
                        YEARS



                            21        151.310     151.831     152.352     152.873     153.394     153.915     154.437     154.958         155.479      156.000    156.521   157.042
                            22        157.563     158.105     158.647     159.189     159.730     160.272     160.814     161.356         161.898      162.440    162.981   163.523
                            23        164.065     164.629     165.192     165.756     166.319     166.883     167.446     168.010         168.573      169.137    169.700   170.264
                            24        170.827     171.413     172.000     172.586     173.173     173.759     174.346     174.932         175.518      176.105    176.691   177.278
                            25        177.864     178.474     179.085     179.695     180.305     180.916     181.526     182.136         182.747      183.357    183.967   184.578
                            26        185.188     185.823     186.458     187.093     187.728     188.363     188.999     189.634         190.269      190.904    191.539   192.174
                            27        192.809     193.470     194.131     194.792     195.452     196.113     196.774     197.435         198.096      198.757    199.417   200.078
                            28        200.739     201.427     202.114     202.802     203.489     204.177     204.864     205.552         206.239      206.927    207.614   208.302
                            29        208.989     209.705     210.422     211.138     211.854     212.571     213.287     214.003         214.720      215.436    216.152   216.869
                            30        217.585     218.331     219.078     219.824     220.570      221.316    222.063     222.809         223.555      224.301    225.048   225.794

                            31        226.540
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1V11N OUNO0
                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 51 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY            n1=          7
                                                                                                                                                                       n2=          8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                    GREATER FACTOR PRODUCED FROM
                                                                                                                                    EITHER: INT=         4.50%     OR: INT=     7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                             k1=        1.0400          k1=    1.0750
                                      ****                                                                                                   k2=        1.0400         k2=     1.0750
                                                                                                                                             k3=        1.0400         k3=     1.0750
                                       30 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      ****
                       SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT                0           1             2           3             4        5        6           7               8              9         10        11
                         YEARS



                            21         158.763      159.310      159.856      160.403      160.950    161.496   162.043   162.590        163.136       163.683      164.230   164.776
                            22         165.323      165.892      166.460      167.029      167.597    168.166   168.734   169.303        169.871       170.440      171.008   171.577
                            23         172.145      172.736      173.328      173.919      174.510    175.101   175.693   176.284        176.875       177.466      178.058   178.649
                            24         179.240      179.855      180.471      181.086      181.701    182.317   182.932   183.547        184.163       184.778      185.393   186.009
                            25         186.624      187.264      187.905      188.545      189.186    189.826   190.467   191.107        191.747       192.388      193.028   193.669
                            26         194.309      194.975      195.642      196.308      196.974    197.641   198.307   198.973        199.640       200.306      200.972   201.639
                            27         202.305      202.998      203.692      204.385      205.078    205.772   206.465   207.158        207.852       208.545      209.238   209.932
                            28         210.625      211.346      212.068      212.789      213.511    214.232   214.954   215.675        216.396       217.118      217.839   218.561
                            29         219.282      220.034      220.785      221.537      222.288    223.040   223.792   224.543        225.295       226.046      226.798   227.549
                            30         228.301
Z9C17000-1 Je0JeiN
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                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 52 of 56


                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY             n1 =        7
                                                                                                                                                                         n2=         8
                                 APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                              GREATER FACTOR PRODUCED FROM
                                                                                                                                EITHER: INT=              4.50%     OR: INT=     7.50%
                                 PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                       k1=             1.0400          k1 =    1.0750
                                                                                                                                         k2=             1.0400          k2=     1.0750
                                                                                                                                         k3 =            1.0400          k3=     1.0750
                                       29 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                      *hi,*
                        SPOUSE
                        AGE AT                                                                       NEAREST MONTH
                      CASHOUT               0            1            2             3           4         5        6            7               8              9          10        11
                        YEARS



                            21         166.516      167.089      167.663      168.236      168.809    169.383   169.956   170.529          171.103      171.676      172.249    172.823
                            22         173.396      173.992      174.589      175.185      175.781    176.378   176.974   177.570          178.167      178.763      179.359    179.956
                            23         180.552      181.172      181.792      182.412      183.032    183.652   184.273   184.893          185.513      186.133      186.753    187.373
                            24         187.993      188.638      189.284      189.929      190.575    191.220   191.866   192.511          193.156      193.802      194.447    195.093
                            25         195.738      196.410      197.081      197.753      198.424    199.096   199.768   200.439          201.111      201.782      202.454    203.125
                            26         203.797      204.496      205.195      205.894      206.593    207.292   207.991   208.689          209.388      210.087      210.786    211.485
                            27         212.184      212.911      213.639      214.366      215.093    215.820   216.548   217.275          218.002      218.729      219.457    220.184
                            28         220.911      221.668      222.424      223.181      223.938    224.694   225.451    226.208         226.964      227.721      228.478    229.234
                            29         229.991
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                                                   Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 53 of 56

                    THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V
                                                                                                                                    BASIS: UP1984 MORTALITY          n1 =         7
                                                                                                                                                                     n2=          8
                                APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED
                                                                                                                                GREATER FACTOR PRODUCED FROM
                                                                                                                                 EITHER: INT=       4.50%    OR: INT=        7.50%
                                PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)
                                                                                                                                          k1=      1.0400         k1=        1.0750
                                                                                                                                          k2=      1.0400         k2=        1.0750
                                                                                                                                          k3=      1.0400         k3=        1.0750
                                       28 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                     • ***
                      SPOUSE
                       AGE AT                                                                   NEAREST MONTH
                     CASHOUT              0           1            2           3           4         5        6                7               8              9       10        11
                       YEARS



                           21        174.581     175.182      175.783     176.385     176.986     177.587     178.188     178.789        179.390       179.992    180.593   181.194
                           22        181.795     182.420      183.045     183.671     184.296     184.921     185.546     186.171        186.796       187.422    188.047   188.672
                           23        189.297     189.947      190.597     191.248     191.898     192.548     193.198     193.848        194.498       195.149    195.799   196.449
                           24        197.099     197.778      198.452     199.129     199.806     200.482     201.159     201.836         202.512      203.189    203.866   204.542
                           25        205.219     205.923      206.627     207.332     208.036     208.740     209.444     210.148         210.852      211.557    212.261   212.965
                           26        213.669     214.402      215.135     215.867     216.600     217.333     218.066     218.798         219.531      220.264    220.997   221.729
                           27        222.462     223.224      223.987     224.749     225.512     226.274     227.037     227.799         228.561      229.324    230.086   230.849
                           28        231.611
179E170001Je0JeiN
1V11NOUNO0
                                                     Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 54 of 56

                     THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                             BASIS: UP1984 MORTALITY          n1=         7
                                                                                                                                                                      n2=         8
                                  APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                  EITHER: INT=       4.50%    OR: INT=        7.50%
                                  PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e.. AGE < 55)                                        k1=      1.0400         k1=        1.0750
                                                                                                                                           k2 =     1.0400         k2=        1.0750
                                       **I,*
                                                                                                                                           k3 =     1.0400         k3=        1.0750
                                        27 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                       ****
                        SPOUSE
                         AGE AT                                                                  NEAREST MONTH
                      CASHOUT               0            1           2          3           4         5        6                7               8              9       10        11
                        YEARS



                             21        182.973     183.603     184.233     184.863     185.493      186.123    186.753     187.383         188.013      188.643    189.273   189.903
                             22        190.533     191.188     191.844     192.499     193.154      193.809    194.465     195.120         195.775      196.430    197.086   197.741
                             23        198.396     199.077     199.759     200.440     201.122      201.803    202.485     203.166         203.847      204.529    205.210   205.892
                             24        206.573      207.282     207.991    208.701     209.410      210.119     210.828    211.537         212.246      212.956    213.665   214.374
                             25        215.083      215.821     216.559    217.297     218.035      218.773     219.512    220.250         220.988      221.726    222.464   223.202
                             26        223.940      224.708     225.476    226.244     227.012      227.780     228.548    229.315         230.083      230.851    231.619   232.387
                            27         233.155
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                                                   Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 55 of 56


                   THE WOOLWORTH RETIREMENT PLAN - JANUARY 1, 1994 - CASHOUT FACTORS V                                              BASIS: UP1984 MORTALITY          n1 =        7
                                                                                                                                                                     n2=         8
                                APPLY TO MONTHLY BENEFIT PAYABLE TO SPOUSE IF DECEASED                                         GREATER FACTOR PRODUCED FROM
                                                                                                                                EITHER: INT=      4.50%     OR: INT=          7.50%
                                PARTICIPANT IS NOT ELIGIBLE FOR EARLY RETIREMENT (i.e., AGE < 55)                                        k1 =     1.0400         k1 =        1.0750
                                                                                                                                         k2=      1.0400         k2=         1.0750
                                    ****
                                                                                                                                         k3=      1.0400         k3=         1.0750
                                      26 = AGE OF SPOUSE WHEN DECEASED PARTICIPANT WOULD HAVE BEEN ELIGIBLE FOR EARLY RETIREMENT
                                    ****

                      SPOUSE
                       AGE AT                                                                   NEAREST MONTH
                    CASHOUT                0           1           2           3           4         5        6                7               8              9       10        11
                      YEARS



                           21        191.704      192.384     193.024     193.684     194.344     195.004     195.665     196.325         196.985      197.645    198.305   198.965
                           22        199.625      200.312     200.998     201.685     202.371     203.058     203.744     204.431         205.117      205.804    206.490   207.177
                           23        207.863      208.577     209.291     210.005     210.719     211.433     212.147     212.860         213.574      214.288    215.002   215.716
                           24        216.430      217.173     217.916     218.659     219.402     220.145     220.889     221.632         222.375      223.118    223.861   224.604
                           25        225.347      226.120     226.893     227.667     228.440     229.213     229.986     230.759         231.532      232.306    233.079   233.852
                           26        234.625
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               Case 1:07-cv-01358-AT Document 351-2 Filed 07/08/15 Page 56 of 56


                    E
                    ER
                 MERC R
                 INCORPORATED


                                                                                David Boulter, ASA, EA
                 January 14, 1994                                               Associate




                 Ms. Ellen Glickfield
                 Woolworth Corporation
                 233 Broadway
                 New York, NY 10022

                 Re: The Woolworth Retirement Plan
                       1994 Cashout Tables

                 Dear Ellen:

                 As requested, we have prepared eight (8) binders containing the five (5) tables to
                 be used for cashouts during 1994. The tables reflect the new PBGC immediate
                 and deferred interest rates as of January 1, 1994.

                 Also enclosed are eight (8) copies of the 1994 Monthly Social Security Benefit
                 Tables. Benefits payable at age 65 and at age 62 were prepared.

                 Please call if we can be of any further assistance.

                 Sincerely,



                 DB:HES/las.185

                 cc: James J. Grefig

                 Enclosures




                                                                               1166 Avenue of the Americas
                                                                               New York NY 10036 2708

                                                                               212 3457444
                                                                               Fax 212345 7414

                                                                               A Marsh & McLennan COmpany



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